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        ORAL ARGUMENT HAS NOT BEEN SCHEDULED

             In the United States Court of Appeals
              for the District of Columbia Circuit
                              No. 24-1164
                              __________

               INDEPENDENT MARKET MONITOR FOR PJM,
                            Petitioner,
                                  v.
              FEDERAL ENERGY REGULATORY COMMISSION,
                           Respondent.
                           __________

             ON PETITION FOR REVIEW OF AN ORDER OF THE
              FEDERAL ENERGY REGULATORY COMMISSION
                             __________

                BRIEF OF RESPONDENT
       FEDERAL ENERGY REGULATORY COMMISSION
                      __________

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                                          Commission
                                         Washington, D.C. 20426
FEBRUARY 28, 2025
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              CIRCUIT RULE 28(A)(1) CERTIFICATE

     A.    Parties

     Dominion Energy Services, Inc. moved to intervene in this case on

June 27, 2024 (ECF No. 2062096). On August 14, 2024, the Court

granted Dominion’s motion along with all other pending motions to

intervene in support of Respondent Federal Energy Regulatory

Commission. See ECF No. 2069791. Otherwise, the parties before this

Court are identified in Petitioner’s Circuit Rule 28(a)(1) certificate.

     B.    Rulings Under Review

     1. Pub. Serv. Comm’n of West Virginia v. PJM Interconnection,
L.L.C., Order Denying Complaints, 186 FERC ¶ 61,163 (Mar. 1, 2024)
(Complaint Order), R. 90, JA___-___; and,

     2. Pub. Serv. Comm’n of West Virginia v. PJM Interconnection,
L.L.C., Notice of Denial of Rehearing by Operation of Law, 187 FERC
¶ 62,070 (Apr. 29, 2024), R. 92, JA___.

     C.    Related Cases

     This case has not previously been before this Court or any other

court. Counsel is not aware of any related cases within the meaning of

D.C. Circuit Rule 28(a)(1)(C).

                                          /s/ Jason T. Perkins
                                          Jason T. Perkins
                                          Attorney
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                                GLOSSARY

 Br.                        Opening brief of Petitioner Independent Market
                            Monitor for PJM

 Commission or FERC         Federal Energy Regulatory Commission

 Complaint Order            Pub. Serv. Comm’n of West Va. v. PJM
                            Interconnection, L.L.C., Order Denying
                            Complaints, 186 FERC ¶ 61,163 (Mar. 1, 2024),
                            R. 90, JA___-___

 Liaison Committee          An avenue for communication between PJM
                            Members, through their elected sector
                            representatives, and the PJM Board

 Market Monitor             Petitioner Monitoring Analytics, LLC, also
                            known as the Independent Market Monitor for
                            PJM

 PJM                        Intervenor for Respondent PJM Interconnection,
                            L.L.C.

 PJM Board                  The Board of Managers of PJM

 PJM Tariff or Tariff       The Commission-jurisdictional PJM Open
                            Access Transmission Tariff, specifically
                            Attachment M thereto

 Services Agreement         The services contract between PJM and its
                            Market Monitor, filed with the Commission as
                            PJM Rate Schedule No. 46, Market Monitoring
                            Services Agreement




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             In the United States Court of Appeals
              for the District of Columbia Circuit
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               INDEPENDENT MARKET MONITOR FOR PJM,
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                                   v.
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                              __________

                 BRIEF OF RESPONDENT
        FEDERAL ENERGY REGULATORY COMMISSION
                       __________

         INTRODUCTION AND STATEMENT OF ISSUES

      This case arises out of an intramural dispute about access to

meetings held at PJM Interconnection, L.L.C. (PJM), a regional electric

grid and market operator regulated by Respondent Federal Energy

Regulatory Commission (FERC or Commission).

      In 2023, the Independent Market Monitor for PJM (Market

Monitor) complained to FERC that the organization it works for—

Intervenor for Respondent PJM—refused to allow the Market Monitor


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to attend a certain set of PJM meetings known as the Liaison

Committee. While PJM’s FERC-approved tariff allows the Market

Monitor to attend “stakeholder processes,” PJM argued that meetings of

the Liaison Committee are not part of the stakeholder processes

referred to in that tariff provision. PJM noted that the Liaison

Committee has no authority to vote on or decide any PJM-related

matters. In the order on review, FERC agreed with PJM and denied

the administrative complaint. Pub. Serv. Comm’n of West Va. v. PJM

Interconnection, L.L.C., Order Denying Complaints, 186 FERC

¶ 61,163, at PP 48-50, 85-86 (Mar. 1, 2024) (Complaint Order), R. 90,

JA___-___, ___-___.

      On review, the Market Monitor contends that PJM has not abided

by the cited tariff provision, and that the Commission misapplied the

tariff in denying its complaint. But since the Market Monitor has

ample access to information and meetings at PJM aside from the

Liaison Committee, the Commission moved to dismiss this appeal for

lack of a cognizable injury supporting Article III standing. This Court

referred that motion to the merits panel, and the Commission renews

its arguments here. But, should the Court reach the merits, the



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Complaint Order explained why the Market Monitor failed to carry its

statutory burden as the complainant here. The Market Monitor did not

allege any facts or offer any evidence indicating that the Liaison

Committee makes decisions such that it properly should be considered

part of PJM’s stakeholder process under the tariff.

The issues presented for review are:

      1. Whether the petition for review should be dismissed for lack of

Article III standing, given that the Market Monitor already has ample

access to the PJM Board, and that its exclusion from the meetings of

one committee (the Liaison Committee) does not meaningfully impair

the Market Monitor’s ability to make and communicate informed

judgments about market operations.

      2. Assuming appellate jurisdiction, whether the Commission

reasonably denied the Market Monitor’s complaint after interpreting

the cited tariff provision and finding that it does not apply to the

Liaison Committee’s meetings.

           COUNTERSTATEMENT ON JURISDICTION

      To obtain judicial review of Commission orders, a petitioner must

satisfy the requirements of both Article III of the United States



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Constitution and section 313(b) of the Federal Power Act, 16 U.S.C.

§ 825l(b). See N.Y. Reg’l Interconnect, Inc. v. FERC, 634 F.3d 581, 586-

87 (D.C. Cir. 2011); see also Old Dominion Elec. Coop. v. FERC, 892

F.3d 1223, 1232-34 (D.C. Cir. 2018) (denying intervenor status to

Market Monitor because it had “no legally cognizable interest” at

stake). As noted, the Commission moved to dismiss this appeal on July

8, 2024. See Motion to Dismiss, ECF No. 2063310, referred to merits

panel by Order, Sept. 4, 2024 (ECF No. 2073040). As discussed in

Argument section I, the petition for review here should be dismissed for

lack of standing under Article III.

              STATUTORY AND REGULATORY PROVISIONS

         The pertinent provisions are contained in the Addendum to this

brief.

                         STATEMENT OF FACTS

I.       STATUTORY AND REGULATORY BACKGROUND

         A.    Federal Power Act

         Section 201 of the Federal Power Act, 16 U.S.C. § 824, gives the

Commission exclusive jurisdiction over the rates, terms, and conditions

of service for the transmission and sale at wholesale of electric energy

in interstate commerce. See FERC v. Elec. Power Supply Ass’n,


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577 U.S. 260, 264-66 (2016). To facilitate transparency and

Commission oversight, each regulated utility must “file with the

Commission” its rates in a publicly available document called a tariff.

16 U.S.C. § 824d(c). Utilities must abide by those tariffs and may not

deviate from their terms and conditions of service without Commission

approval. See W. Deptford Energy, LLC v. FERC, 766 F.3d 10, 12-13

(D.C. Cir. 2014).

      Sections 206 and 306 of the Act authorize the Commission to

investigate existing utility rates and practices upon complaint.

16 U.S.C. §§ 824e(a), 825e.1 Under section 206, the complaining party

bears the burden of establishing that the challenged utility practice is

unlawful. Id. § 824e(b); FirstEnergy Serv. Co. v. FERC, 758 F.3d 346,

353 (D.C. Cir. 2014). Where that burden is carried, leading the

Commission to find that the complained-of utility practice violates the

utility’s tariff, the Commission may direct the utility to cease the




      1 See also PJM Interconnection, L.L.C., 167 FERC ¶ 61,084, at

PP 70-76 (finding that the Market Monitor could initiate an
administrative complaint proceeding against PJM), reh’g denied,
168 FERC ¶ 61,141, at PP 10-15 (2019).


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violation and conform its practices to the tariff. See Entergy Servs., Inc.

v. FERC, 375 F.3d 1204, 1208 (D.C. Cir. 2004).

      B.   Regional Transmission Organizations

      Historically, electric utilities were vertically integrated

monopolies that owned electric generating facilities, transmission lines

and distribution systems, and sold all of these services as a “bundled”

package to their customers. New York v. FERC, 535 U.S. 1, 5 (2002).

Since then, however, jurisdictional public utilities have been required to

announce separate rates for their Commission-jurisdictional services

and offer nondiscriminatory open-access transmission service to

customers. See id. at 7-12, 14-17.

      To reduce the technical inefficiencies associated with different

utilities operating different parts of the grid, the Commission

encouraged utilities to establish “Regional Transmission Organizations”

or “Independent System Operators,” which today have operational

control over the transmission facilities owned by multiple utilities and

operate a variety of electric markets. See Morgan Stanley Cap. Grp.

Inc. v. Pub. Util. Dist. No. 1, 554 U.S. 527, 536-37 (2008). In other

words, a grid operator is “an independent company that has operational



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control, but not ownership, of the transmission facilities owned by

member utilities.” NRG Power Mktg., LLC v. Maine Pub. Utils.

Comm’n, 558 U.S. 165, 169 n.1 (2010).

      C.   PJM Interconnection and its Market Monitor

      PJM Interconnection, L.L.C. is an electric grid and market

operator that manages a system serving approximately fifty million

consumers in thirteen states and the District of Columbia. PJM Power

Providers Grp. v. FERC, 88 F.4th 250, 261 (3d Cir. 2023). PJM stands

for Pennsylvania, New Jersey, and Maryland—the first three states in

which it operated. See FERC Energy Primer: A Handbook for Energy

Market Basics at 83 (Dec. 2023), available at https://perma.cc/Q4ZZ-

7WR7. PJM is governed by a Board of Managers (the PJM Board), most

of whom are elected by PJM’s Members—a diverse group that includes

market participants, utilities, and customers. See id.; Complaint Order

P 2 & n.5, JA___.

      Pursuant to FERC requirements for market operators, PJM has a

market monitoring plan set forth in its Commission-jurisdictional tariff.

That plan, located at Attachment M to the PJM Open Access

Transmission Tariff (PJM Tariff or Tariff), calls for PJM to obtain the



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services of an independent market monitor. Complaint Order P 7

(describing market monitoring activities), JA___-___. PJM has chosen

to engage the Market Monitor—whose business name is Monitoring

Analytics, LLC—as an independent contractor who reports directly to

the PJM Board. See PJM Interconnection, L.L.C., 144 FERC ¶ 61,238,

at PP 1-3 (2013). Pursuant to its services agreement, the Market

Monitor “is an independent contractor and not an employee of PJM or

any of its subsidiaries or affiliates.” PJM Rate Schedule No. 46, Market

Monitoring Services Agreement (Services Agreement), section 13

(Independent Contractor) (2.0.0), Add. A-18.2

      D.   Stakeholder Access to the PJM Board

      As a regional transmission organization, PJM is expected to be

responsive to the views of electric customers and others with an interest

in PJM’s markets (often referred to as stakeholders). See Complaint


      2 PJM recently decided to extend the Market Monitor’s contract
for an additional six years. See PJM Transmittal Letter at 3, Docket
No. ER25-807-000 (filed Dec. 26, 2024) (proposing to extend term of the
agreement “to December 31, 2031”). Noting the lack of protests or
adverse comments, the Commission accepted that uncontested filing.
PJM Interconnection, L.L.C., Delegated Letter Order (issued Feb. 11,
2025) (FERC Docket No. ER25-807-000). Available at
https://elibrary.ferc.gov/eLibrary/docketsheet?docket_number=ER25-
807&sub_docket=All.


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Order PP 6, 81 (citing, in part, 18 C.F.R. § 35.28(g)(6)(i), Add. A-12),

JA___-___, ___. Thus, Commission policy requires that stakeholders

have access to the PJM Board to share their views, and further requires

that PJM’s decision-making consider and balance the interests of its

customers and stakeholders. Id. PP 6, 80, JA___, ___.

      To comply with these requirements, PJM has devised an entire

organizational apparatus for stakeholder engagement and feedback

regarding PJM decisions. This “stakeholder process” is, in effect, a

somewhat hierarchical structure of various stakeholder committees and

groups that meet to consider all manner of PJM ideas and proposals.

PJM illustrates the high-level structure of its stakeholder process as

indicated in the below diagram.




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PJM Manual 34 at 26 (Exhibit 1), Pet. Add. 56.3

      But, importantly, the Commission does not require that PJM open

up every possible meeting with the PJM Board to all interested

attendees. See Complaint Order PP 80-82, JA___-___. As the

Commission explained, its “Order No. 719 does not require PJM to

allow every stakeholder to attend any meeting between another group




      3 The opening brief’s addendum includes a more recent version of

this Manual, which is materially similar to the version cited by the
Commission, though with different pagination. The earlier Jan. 25,
2023 version is available at https://perma.cc/5XCF-UVBQ. This graphic
appears at Section 5.1, Overview and Standing Committees in both
versions.


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of stakeholders and the PJM Board.” Id. P 82, JA___.4 Stakeholders

must have the opportunity to communicate their views to the Board—

i.e., must have “access to” Board members—but Commission policy does

not require “that every party must be included in every meeting

between the Board and other parties.” Id. P 80, JA___.

      Pursuant to these policies, some groups may meet with the PJM

Board privately, which allows for clear lines of communication,

sometimes about confidential subjects. See id. PP 81-82, JA___.

In practice, there are at least three sets of closed meetings that certain

groups or entities individually have on a recurring basis with the PJM

Board. The Market Monitor itself has such meetings, id. P 86 & n.202,

JA___-___, relevant state public utility commissions have such meetings

through a membership organization, id. P 82, JA___, and PJM Members

have one as well, called the Liaison Committee, see id. PP 2 & n.5, 74,

77 (describing PJM’s membership and the Committee), JA___, ___, ___.




      4 See also PJM Interconnection, L.L.C., 133 FERC ¶ 61,071, at

P 41 (2010) (Order No. 719 Compliance Order) (finding that PJM’s
“governance procedures and stakeholder processes are sufficient to
ensure that the views of all customers and other stakeholders will be
made known to the PJM Board” pursuant to Commission policy).


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      The Liaison Committee “provide[s] an avenue for communication

between” representatives of PJM’s diverse membership “and the PJM

Board,” but the Liaison Committee “does not make decisions.” Id. PP 2,

79, JA___, ___. That is, no Member votes on market rule proposals are

taken at Liaison Committee meetings. Id. PP 79 & n.175, 85 & n.201,

JA___, ___. Rather, market rule proposal votes occur at a different set

of meetings, outside the Liaison Committee, that are open to the

Market Monitor. See id. PP 85 & n.201, 86 & n.204, JA___-___. The

Members Committee and its subsidiary groups are where Members

propose and debate market rule changes and ultimately cast votes on

important PJM issues. See Br. 2, 18, 25; Bowring Decl. P 9, Pet. Add. 5;

see also Diagram, supra p. 10.

      In contrast, the Liaison Committee “has no authority to vote on or

decide any matters, or to act as a substitute for the decision-making

processes of the Members Committee.” PJM Answer at 9-10, R. 77,

JA___-___. The Liaison Committee is simply intended to ensure

“exchanges and information sharing on topics of relevance to the

Members and the Board,” which happens to include “future market

monitoring contracts.” Complaint Order PP 2, 60, JA___, ___.



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II.   THE COMPLAINT ORDER ON REVIEW

      A.   The Market Monitor Complaint Proceeding

      On March 24, 2023, the Market Monitor filed a complaint at the

Commission against PJM. Complaint Order P 1, JA___. It claimed that

PJM was violating Attachment M to the PJM Tariff by not allowing the

Market Monitor to attend Liaison Committee meetings. Id. According

to the Market Monitor, certain provisions of the PJM Tariff allow it to

attend whatever stakeholder forum it finds “appropriate or necessary”

to its functions. See id. PP 18, 85, JA___, ___.5

      And because the terms of the PJM Tariff trump the charter (i.e.,

the organizing document or bylaws) of the Liaison Committee, the

Market Monitor contended that PJM violates its Tariff by allowing the

Liaison Committee to remain a Members-only invitation. See id. PP 63-



      5 Several weeks before the Market Monitor filed its Liaison

Committee complaint, the Public Service Commission of West Virginia
(West Virginia Commission) also filed a complaint seeking to be allowed
to attend Liaison Committee meetings. Complaint Order P 1 (referring
to Commission Docket No. EL23-45-000), JA___. Though sharing the
same objective, the West Virginia Commission’s claims relied on other
Commission policies and standards, not the PJM Tariff provision at
issue here that is specific to market monitoring activities. See id. The
West Virginia Commission did not seek rehearing or judicial review of
the Complaint Order and is not a party to this appeal.


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64, 85, JA___, ___.

      In short, the Market Monitor wanted to invite itself to other

groups’ closed meetings, despite not satisfying the stated criteria for

participation in those meetings. PJM opposed the complaint, arguing

that the Market Monitor’s interests are limited to the monitoring

services it provides, and that, in any event, the Market Monitor meets

regularly with Board members regarding competitive market issues.

See PJM Answer to Complaint at 2-4, 10-11, R. 77, JA___-___, ___-___.

PJM further asserted that “the Liaison Committee is simply a

communication vehicle and not a forum with voting rights to advance

potential changes to any Governing Documents” such as the PJM

Operating Agreement. Id. at 1, 4, JA___, ___; see also Bowring Decl.

PP 9-10 (discussing stakeholder voting), Pet. Add. 5.

      B.   The Commission Denies Relief

      The Commission declined to order relief. Complaint Order PP 85-

86, JA___-___. It found that the Liaison Committee did not come within

the scope of the cited Tariff provision. Id. P 85, JA___-___. Although

under the Tariff, the Market Monitor may “participate (consistent with

the rules applicable to all PJM stakeholders) in stakeholder working



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groups, committees or other PJM stakeholder processes,” the

Commission found that this provision speaks to stakeholder processes

that the PJM Board uses to make decisions. Id. That is, this Tariff

provision enables Market Monitor attendance when there are decision-

oriented meetings on “proposed revisions to tariff provisions, governing

documents, processes, or market design and operations.” Id., JA___.

      The Liaison Committee, however, is not an element of the PJM

Board’s decision-making process. See id. Rather, the Commission

found that the stated purpose of the Liaison Committee is “to facilitate

communication” and to help “Members understand the PJM Board

decision making process.” Id. (emphasis in original). And the

Commission found that the Market Monitor provided no evidence that

“the Liaison Committee is actually being used as part of a decision-

making process.” Id. (emphasis in original).

      Furthermore, the Commission noted that the Market Monitor has

“ample opportunities” of its own “to meet with the PJM Board, both

directly and indirectly.” Id. P 86, JA___. Given all this, the

Commission found that the Market Monitor did not satisfy its burden to

prove that the Liaison Committee is a stakeholder working group,



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committee or other PJM stakeholder process as contemplated by the

Tariff such that the complaint should be granted. Id. PP 85, 86, JA___,

___. One Commissioner dissented, emphasizing the special nature of

the Market Monitor and its important responsibilities. See id. PP 13-14

(Christie, dissenting), JA___-___.

      The Market Monitor sought agency rehearing, renewing its Tariff-

based arguments. Reh’g Request at 1-4 (filed Mar. 29, 2024), R. 91,

JA___-___. The Commission issued a notice of denial of rehearing by

operation of law, and this appeal followed.

                     SUMMARY OF ARGUMENT

      The Market Monitor believes that it has been wrongly excluded

from a certain set of meetings at PJM. It believes that a Tariff

provision grants plenary discretion to the Market Monitor to attend

whatever stakeholder meetings it believes are appropriate or necessary.

And so it argues that the Commission failed to give that provision full

effect regarding the meetings of PJM’s Liaison Committee.

      Even if true, these allegations do not amount to a cognizable

injury to the Market Monitor that supports Article III standing to

maintain this appeal. As the Commission explained, the Market



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Monitor has its own set of meetings with its employer, the PJM Board.

And the Market Monitor admits that it vigorously participates in the

meetings that comprise PJM’s stakeholder process—the scores of

meetings and forums that exist at PJM to vet decisions on all manner of

market-related issues. The Market Monitor offers nothing more than

abstract or generalized harm from not attending more meetings.

      If the Court proceeds to the merits, it would see that the

Commission reasonably applied the cited tariff provision to the facts

presented by the Market Monitor. The Commission found that the

Liaison Committee is not a part of the stakeholder process as it does not

make decisions. The Market Monitor did not allege or provide evidence

to the Commission that the Liaison Committee is in fact being used as a

decisional forum. On appeal here, the Market Monitor simply

reiterates its belief that the cited tariff provision was misapplied.

But the Market Monitor provides no basis, evidentiary or otherwise, to

conclude that the Commission misread the record or misunderstood the

tariff here.




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                              ARGUMENT

I.    THE MARKET MONITOR HAS FAILED TO ESTABLISH
      ARTICLE III STANDING

      This Court has repeatedly explained that to establish Article III

standing, a petitioner “must have suffered injury in fact,” which is “an

actual or imminent invasion of a legally protected, concrete and

particularized interest.” Ctr. for Law & Educ. v. Dep’t of Educ.,

396 F.3d 1152, 1157 (D.C. Cir. 2005) (citing Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560-61 (1992)); see also Turlock Irr. Dist. v.

FERC, 786 F.3d 18, 23 (D.C. Cir. 2015) (same). Depending on the

circumstances, a FERC-jurisdictional utility (or its customers or

competitors) may be financially aggrieved by markets-related agency

action under the Federal Power Act, and therefore possess Article III

standing to seek judicial review. See, e.g., La. Energy & Power Auth. v.

FERC, 141 F.3d 364, 366-67 (D.C. Cir. 1998) (finding that competitor

and customer of utility had standing regarding rate dispute).

      The Market Monitor, however, is an unusual type of entity.

It neither charges nor pays rates subject to Commission jurisdiction;

instead, its role “is much in the nature of an auditor” at PJM and so its

legal interests are limited to its “contractually assigned tasks” such as


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“observing the market’s operations and then offering

recommendations.” Old Dominion, 892 F.3d at 1233. As this Court has

explained, “the Monitor has no independent legal interest of its own in

the PJM markets” and “is not a contractual party to . . . the Tariff.” Id.

      But, as the Market Monitor explains here, this case is not even

about access to PJM’s markets or their operation—it is about access to a

particular set of meetings the Market Monitor desires to attend. Br. 2.

The Market Monitor offers two main assertions in support of its

standing here: 1) that access to Liaison Committee meetings is critical

to carrying out the Market Monitor’s market design functions; and

2) that the Market Monitor must be able to hear and respond in real

time to other parties’ concerns about its performance. See Br. 4-6, 13,

15-18. Neither assertion is persuasive.

      A.   The Market Monitor’s Duties Are Not Meaningfully
           Impaired by FERC’s Action Here

      The Market Monitor first claims that its ability “to perform its

organizational mission” is imperiled by not being able to attend Liaison

Committee meetings. Br. 6-7. It acknowledges that under this Court’s

precedents, FERC’s interference with the Market Monitor’s interests

must be more than just a “setback” to “abstract” concerns—the


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interference must be a “drain on the organization’s resources” that

denies access to “key information that it relies on to educate the public.”

Br. 10-11 (quoting People for the Ethical Treatment of Animals v. Dep’t

of Agric., 797 F.3d 1087, 1093-94 (D.C. Cir. 2015)). 6

      But the Market Monitor has access to the PJM Board and to

market-related data. See Market Monitor Response to Motion to

Dismiss at 13 (admitting that these concerns are not at issue here),

ECF No. 2064654. It also has full access to PJM’s decision-making

process—indeed, the Market Monitor identifies no fewer than 17

committees, task forces, and other PJM forums in which it is an active

participant on market and market-design issues, totaling more than

100 meetings attended in 2024 alone. Bowring Decl. PP 18-19, Pet.




      6 The Market Monitor also equates the Tariff provision to

“a statutory right” of access to the meetings it would like to attend
(Br. 7), a comparison that is inapt. See Cal. ex rel. Lockyer v. Dynegy,
Inc., 375 F.3d 831, 839 (9th Cir. 2004) (equating filed tariffs with
agency regulations instead). But regardless of the source of the claimed
right, the Market Monitor must demonstrate how that right’s denial
inflicts concrete harm. See TransUnion LLC v. Ramirez, 594 U.S. 413,
426 (2021); see also Summers v. Earth Island Inst., 555 U.S. 488, 496-97
(2009) (finding alleged procedural deficiencies “insufficient to create
Article III standing” where plaintiff is unable to identify “some concrete
interest that is affected by the deprivation”).


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Add. 8. And the Market Monitor possesses many of its own tools for

obtaining further information and data (from PJM and from market

participants) when necessary. See PJM Tariff, Att. M, section V

(Information and Data) (5.0.0), Add. A-15 to A-17; see also Complaint

Order P 86 (describing the Market Monitor’s routine interaction with

stakeholders and the PJM Board), JA___-___.

      Despite all this, the Market Monitor asks for more information.

It argues that it must also attend Liaison Committee meetings because

those meetings “create the opportunity for [PJM] Members to advocate

proposed changes to the market design that may be inconsistent” with

the Market Monitor’s views. Bowring Decl. P 14, Pet. Add. 6-7. In

effect, the Market Monitor believes that any time market design issues

are up for discussion, on any PJM Board-sponsored meeting agenda,

failing to include the Market Monitor necessarily results in a significant

hindrance to the Market Monitor’s abilities. See id.; see also PJM

Answer to Complaint at 11 (“the Complaint essentially asks . . . [for]

permission to attend any PJM meeting, with no limiting principles”),

R. 77, JA___. This belief holds even where the Market Monitor




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disclaims an interest in raising any agenda items of its own at such

meetings. See Bowring Decl. P 11, Pet. Add. 6.

      Under this Court’s standing precedents, the challenged agency

conduct must have “perceptibly impaired” an organization’s “ability to

provide services” to amount to a cognizable injury in fact. Food & Water

Watch, Inc. v. Vilsack, 808 F.3d 905, 919 (D.C. Cir. 2015) (quoting

Turlock, 786 F.3d at 24). In other words, there must be a “direct

conflict between the defendant’s conduct and the organization’s

mission” that amounts to actual impairment of the organization’s

activities. Dep’t of Agriculture, 797 F.3d at 1095 (citations omitted);

see also Turlock, 786 F.3d at 24 (expending resources on litigation or

administrative proceedings “does not qualify as an injury in fact” on its

own). That impairment simply has not occurred here, even if, as the

Market Monitor (incorrectly) alleges, FERC inappropriately allowed

Liaison Committee meetings to remain closed. Generalized

“[f]rustration of an organization’s objectives is the type of abstract

concern that does not impart standing.” Ctr. for Law & Educ., 396 F.3d

at 1161-62 (citation omitted).




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      B.   The Market Monitor Has No Cognizable, Legally
           Protected Interest in Providing Real-Time Rebuttal
           Regarding Its Own Performance

      The Market Monitor also contends that FERC’s action “deprives

the Market Monitor of notice and opportunity to be heard concerning

complaints” to the PJM Board “about the Market Monitor’s

performance.” Br. 15. This is a problem, the Market Monitor claims,

because the PJM Board has the power to potentially terminate or

replace the Market Monitor for performance reasons. Id. 16.

      However, the Market Monitor admits that the review of its

performance by the PJM Board is governed by a separate contract—the

Services Agreement. See id. 16-17. As previously explained, the

Market Monitor has a direct line to the PJM Board, including to discuss

market issues and organizational performance. See Motion to Dismiss

Reply at 2 (citing Complaint Order PP 85-86, JA___-___ and Services

Agreement, section 28 (Communication and Cooperation) (0.0.0),

Add. A-19), ECF No. 2065647. By contract, market monitor

performance meetings include written notification and subsequent

discussion of any performance problems the PJM Board may identify.

Services Agreement, section 27 (Adequate Performance Under



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Attachment M) (2.0.0), Pet. Add. 183. But the Market Monitor’s claims

do not even pertain to this contractual performance review process—the

only issue it raises is that the stakeholder meeting provisions of a

separate document (the Tariff) have allegedly not been enforced.

See Br. 2, 3-4, 6; see also Reh’g Req. at 1-4 (same), JA___-___; Mot. to

Dismiss Resp. at 13 (same); Old Dominion, 892 F.3d at 1233 (explaining

that the Market “Monitor is not a contractual party to … the Tariff”).

      Thus, there is no allegation that the PJM Board has failed to

communicate with the Market Monitor about performance issues. And

there is no claim here that the Board intends to take action against the

Market Monitor due to Liaison Committee-related information. Rather,

all the Market Monitor alleges is that it has been a topic of discussion in

closed meetings. See Br. 18. At most, the Market Monitor claims it

should have been allowed to attend those meetings to hear what others

are saying, but it fails to identify any concrete harm that has resulted

from its non-attendance. See Summers, 555 U.S. at 496-97 (requiring

showing of harm stemming from alleged procedural violation).

      Indeed, without any “law that vests it with independent legal

rights,” nor demonstration of a “significant and direct interest” that has



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been invaded, Old Dominion, 892 F.3d at 1234, the Market Monitor

here has failed to identify cognizable injury to a legally protected

interest that provides it with Article III standing.7

II.   STANDARD OF REVIEW

      If the Court proceeds to the merits of this case, it should review

the Commission’s decisions here under the Administrative Procedure

Act’s narrow arbitrary and capricious standard. See 5 U.S.C.

§ 706(2)(A); FERC v. Elec. Power Supply Ass’n, 577 U.S. 260, 292

(2016). Under that standard, the question is not “whether a regulatory

decision is the best one possible or even whether it is better than the

alternatives.” Elec. Power Supply Ass’n, 577 U.S. at 292. Instead,

courts will “uphold FERC’s action so long as it examined relevant

considerations and articulated a reasoned explanation for” its action.

City of Lincoln v. FERC, 89 F.4th 926, 931 (D.C. Cir. 2024).




      7 To the extent the Market Monitor seeks to protect its interest in

potential renewal of its contract with PJM, any such concern is now
speculative or moot. PJM recently decided to extend the Market
Monitor’s contract for an additional six years to December 31, 2031,
with no substantive change to performance-related provisions. See PJM
Transmittal Letter at 2-3, 5, Docket No. ER25-807-000, supra note 2.


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      The Commission’s interpretation of jurisdictional tariffs and

contracts—like the PJM Tariff at issue here—is entitled to respect.

In this context, and “even before Chevron,” the Court has accorded

“great weight to the judgment of the expert agency that deals with”

industry-specific legal terms “on a daily basis.” Nat’l Fuel Gas Supply

Corp. v. FERC, 811 F.2d 1563, 1570-71 (D.C. Cir. 1987) (quoting, in

part, Kansas Cities v. FERC, 723 F.2d 82, 87 (D.C. Cir. 1983)); see also

Columbia Gas Transmission Corp. v. FPC, 530 F.2d 1056, 1059 (D.C.

Cir. 1976) (acknowledging “room . . . for some deference to [agency]

views even on matters of law like the meaning of contracts”).

      Also, the Commission’s factual findings are conclusive if supported

by substantial record evidence. See 16 U.S.C. § 825l(b). This means

that to the extent that record evidence could support several possible

conclusions, “it is the agency’s choice that governs.” La. Pub. Serv.

Comm’n v. FERC, 522 F.3d 378, 395 (D.C. Cir. 2008) (citation omitted).

The Court defers to the Commission’s reading of its own precedent as

well. City of Lincoln, 89 F.4th at 931.

      Taken together, this means that “so long as FERC’s decisions are

not arbitrary or capricious, or lacking in substantial evidence,” this



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Court does not “alter the Commission’s judgment.” Brady v. FERC,

416 F.3d 1, 10-11 (D.C. Cir. 2005).

III. ASSUMING JURISDICTION, THE COMMISSION
     REASONABLY DENIED THE MARKET MONITOR’S
     COMPLAINT

      A.   The Commission Reasonably Applied PJM’s
           Tariff to the Facts of the Liaison Committee

      1. Tariff Interpretation. In the Complaint Order, the Commission

interpreted the following provision of the PJM Tariff:

      The Market Monitoring Unit may, as it deems appropriate or
      necessary to perform its functions under this Plan, participate
      (consistent with the rules applicable to all PJM stakeholders)
      in stakeholder working groups, committees or other PJM
      stakeholder processes.

Complaint Order P 85 (quoting PJM Tariff, Attachment M, section

IV.G, Add. A-14), JA___. The Commission determined that this

provision grants the Market Monitor access to PJM’s stakeholder

committees and stakeholder processes. See id. This follows from the

repeated use of the word “stakeholder” and the structure of the sentence

as a whole. Id. n.196, JA___. And that is “the most natural reading of

[the] sentence” as well. Facebook, Inc. v. Duguid, 592 U.S. 395, 403

(2021). After all, “words grouped in a list should be given a related

meaning.” Atl. City Elec. Co. v. FERC, 295 F.3d 1, 12 (D.C. Cir. 2002)



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(explaining and applying the interpretive principle of “noscitur a sociis”

(citation omitted)).

      2. Tariff Application. However, the Commission found that the

Market Monitor had failed to establish that Liaison Committee

meetings are encompassed within that Tariff provision. Complaint

Order P 85, JA___. In the Commission’s reading, “stakeholder

processes” are “elements of a decision making process.” Id. Not every

possible meeting is an element of an identifiable decision-making

process, and so the Commission understandably asked whether the

Liaison Committee in particular serves a decisional function at PJM.

See id., JA___-___.

      The Commission reasonably determined that it did not. The

Liaison Committee, under its organizing document, “is not, on its face,

an element of the decision making process regarding proposed revisions

to tariff provisions, governing documents, processes, or market design

and operations.” Id. (citing Liaison Committee Charter at 1, JA___),

JA___; see also PJM Answer to Complaint at 8 (“The Liaison Committee

is not, and has never been, a stakeholder working group or committee

as contemplated in Tariff, Attachment M.”), JA___.



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      3. Evidentiary Burden. Furthermore, despite shouldering the

statutory burden of proving that PJM’s practices are unjust and

unreasonable, see Complaint Order P 85 & n.194 (citing 16 U.S.C.

§ 824e(b)), JA___, the Market Monitor “made no allegations in its

complaint that the Liaison Committee is involved in PJM decision

making.” Id., JA___-___. Nor did it “allege, let alone provide evidence,

that the Liaison Committee is actually being used as part of a decision-

making process.” Id. (emphasis in original), JA___. In fact, the Market

Monitor has “ample opportunities to meet with the PJM Board, both

directly and indirectly,” including regarding key PJM decisions of

concern. Id. P 86, JA___-___.

      In sum, the Commission found that the Market Monitor had not

satisfied its burden to show (1) specifically, that the Liaison Committee

is, within the understanding of the Tariff, a stakeholder committee, or

(2) generally, that PJM had acted unlawfully. Id. PP 85-86, JA___-___.

The Commission therefore denied the Market Monitor’s complaint. Id.

P 86, JA___.




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      B.   The Market Monitor’s Contrary Arguments Are
           Unavailing

      The Market Monitor appears to agree with the upshot of the

Commission’s tariff interpretation here—that the tariff provision is

“authorization for the Market [Monitor] to participate in all PJM

stakeholder processes.” Br. 20-21, 24; see also supra p. 27 (citing

Complaint Order P 85 & n.196, JA___). But the Market Monitor

contends that the concept of a “stakeholder process” is broader than the

Commission allowed, and that it includes any meetings used for “the

identification of issues and the review of issues” with stakeholders.

Br. 22 (emphasis added).

      In essence, what the Market Monitor challenges is the

Commission’s finding that the Liaison Committee is not part of PJM’s

stakeholder process because it does not make decisions. See Complaint

Order P 85, JA___; see also id. P 79 & nn.175, 178 (explaining the

Liaison Committee’s limitations), JA___-___. But this factual finding

was based on substantial evidence: it was based on Commission

precedent about PJM, and PJM’s own documents and statements,

which identify decision-making as the point of the stakeholder process.

See id. P 85 & nn.197, 198, 201 (collecting citations), JA___-___.


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The stakeholder process is “used to identify, review, and make decisions

regarding proposed revisions to PJM’s governing documents” and other

market concerns. Id. P 85 (emphasis added), JA___. The Liaison

Committee, in contrast, can “only write reports” and “does not have the

authority to vote on or to decide any matters or to act as a substitute for

the normal stakeholder process.” Id. n.201, JA___. It is more simply

used “to facilitate communication” and promote PJM Member

understanding. Id. P 85, JA___. Thus, the Commission sided with

PJM, further explaining that “[t]he Market Monitor does not allege any

facts which lead us to find otherwise.” Id.

      This case therefore presents the familiar circumstance where a

complainant under Federal Power Act section 206(b), 16 U.S.C.

§ 824e(b), failed to carry its evidentiary burden. See, e.g., New England

Power Generators Assoc. v. FERC, 879 F.3d 1192, 1200, 1202 (D.C. Cir.

2018) (denying petition for review); FirstEnergy Serv. Co. v. FERC,

758 F.3d 346, 353-56, 357 (D.C. Cir. 2014) (same); Potomac Elec. Power

Co. v. FERC, 210 F.3d 403, 405-06, 408-10, 411-12 (D.C. Cir. 2000)

(same, given that complainant failed to offer evidence beyond

speculation).



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                             CONCLUSION
      For the foregoing reasons, the petition for review should be

dismissed for lack of Article III standing. If the Court proceeds to the

merits of the petition, it should be denied.

                                         Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g) and Circuit Rule 32(e), I certify

that this brief complies with the type-volume limitation of Fed. R. App.

P. 32(a)(7)(B) because this brief contains 5,768 words, excluding the

parts of the brief exempted by Fed. R. App. P. 32(f) and Circuit Rule

32(e)(1).

      I further certify that this brief complies with the type-face

requirements of Fed. R. App. P. 32(a)(5) and the type-style

requirements of Fed. R. App. P. 32(a)(6) because this brief has been

prepared in Century Schoolbook 14-point font using Microsoft Word.


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   erwise final is final for the purposes of this sec-                   In making the foregoing determinations, the
   tion whether or not there has been presented or                       court shall review the whole record or those
   determined an application for a declaratory                           parts of it cited by a party, and due account
   order, for any form of reconsideration, or, unless                    shall be taken of the rule of prejudicial error.
   the agency otherwise requires by rule and pro-
   vides that the action meanwhile is inoperative,                       (Pub. L . 89-554, Sept. 6, 1966, 80 Stat. 393.)
   for an appeal to superior agency authority.                                          HISTORICAL AND REVISION NOTES
   (Pub. L. 89-554, Sept. 6, 1966, 80 Stat. 392.)                                                                Revised Statutes and
                                                                         Derivation            U.S. Code          Statutes at Large
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                 5 U.S.C. 1009(c).    June 11, 1946, ch. 324, § lO(c),     Standard changes are made to conform with the defi-
                                        60 Stat. 243.                    nitions applicable and the style of this title as outlined
                                                                         in the preface of this report.
     Standard changes are made to conform with the defi-
   nitions applicable and the style of this title as outlined                   Statutory Notes and Related Subsidiaries
   in the preface of this report.
                                                                                            ABBREVIATION OF RECORD
   § 705. Relief pending review
                                                                           Pub. L. 85-791, Aug. 28, 1958, 72 Stat. 941, which au-
     When an agency finds that justice so requires,                      thorized abbreviation of record on review or enforce-
   it may postpone the effective date of action                          ment of orders of administrative agencies and review
   taken by it, pending judicial review. On such                         on the original papers, provided, in section 35 thereof,
   conditions as may be required and to the extent                       that: "This Act [see Tables for classification] shall not
   necessary to prevent irreparable injury, the re-                      be construed to repeal or modify any provision of the
                                                                         Administrative Procedure Act [see Short Title note set
   viewing court, including the court to which a                         out preceding section 551 of this title] ."
   case may be taken on appeal from or on applica-
   tion for certiorari or other writ to a reviewing                       CHAPTER 8---CONGRESSIONAL REVIEW OF
   court, may issue all necessary and appropriate                                AGENCY RULEMAKING
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                                                                         804.         Definitions.
                                          Revised Statutes and           805.         Judicial review.
    Derivation          U.S. Code          Statutes at Large             806.         Applicability; severability.
                                                                         807.         Exemption for monetary policy.
                 5 U.S.C . 1009(d).   June 11, 1946, ch. 324, §lO(d),    808.         Effective date of certain rules.
                                        60 Stat. 243.
                                                                         § 801. Congressional review
     Standard changes are made to conform with the defi-
   nitions applicable and the style of this title as outlined              (a)(l)(A) Before a rule can take effect, the Fed-
   in the preface of this report.                                        eral agency promulgating such rule shall submit
   § 706. Scope of review                                                to each House of the Congress and to the Comp-
                                                                         troller General a report containing-
     To the extent necessary to decision and when                            (i) a copy of the rule;
   presented, the reviewing court shall decide all                           (ii) a concise general statement relating to
   relevant questions of law, interpret constitu-                          the rule, including whether it is a major rule;
   tional and statutory provisions, and determine                          and
   the meaning or applicability of the terms of an                           (iii) the proposed effective date of the rule.
   agency action. The reviewing court shall-
       (!) compel agency action unlawfully with-                           (B) On the date of the submission of the report
     held or unreasonably delayed; and                                   under subparagraph (A), the Federal agency pro-
       (2) hold unlawful and set aside agency ac-                        mulgating the rule shall submit to the Comp-
     tion, findings, and conclusions found to be-                        troller General and make available to each
         (A) arbitrary, capricious, an abuse of dis-                     House of Congress---
       cretion, or otherwise not in accordance with                          (i) a complete copy of the cost-benefit anal-
       law·                                                                ysis of the rule, if any;
         (B) contrary to constitutional right,                               (ii) the agency's actions relevant to sections
       power, privilege, or immunity;                                      603, 604, 605, 607, and 609;
         (C) in excess of statutory jurisdiction, au-                        (iii) the agency's actions relevant to sec-
       thority, or limitations, or short of statutory                      tions 202, 203, 204, and 205 of the Unfunded
       right;                                                              Mandates Reform Act of 1995; and
         (D) without observance of procedure re-                             (iv) any other relevant information or re-
       quired by law;                                                      quirements under any other Act and any rel-
         (E) unsupported by substantial evidence in                        evant Executive orders.
       a case subject to sections 556 and 557 of this
       title or otherwise reviewed on the record of                        (C) Upon receipt of a report submitted under
       an agency hearing provided by statute; or                         subparagraph (A), each House shall provide cop-
         (F) unwarranted by the facts to the extent                      ies of the report to the chairman and ranking
       that the facts are subject to trial de novo by                    member of each standing committee with juris-
       the reviewing court.                                              diction under the rules of the House of Rep-




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   SUBCHAPTER II-REGULATION OF ELEC-                      (d) "Sale of electric energy at wholesale" defined
    TRIC UTILITY COMPANIES ENGAGED IN                       The term " sale of electric energy at whole-
    INTERSTATE COMMERCE                                   sale" when used in this subchapter, means a sale
   § 824. Declaration of policy; application of sub-      of electric energy to any person for resale.
       chapter                                            (e) "Public utility'' defined
   (a) Federal regulation of transmission and sale
                                                            The term "public utility" when used in this
       of electric energy
                                                          subchapter and subchapter III of this chapter
                                                          means any person who owns or operates facili-
     It is declared that the business of transmitting     ties subject to the jurisdiction of the Commis-
   and selling electric energy for ultimate distribu-     sion under this subchapter (other than facilities
   tion to the public is affected with a public inter-    subject to such jurisdiction solely by reason of
   est, and that Federal regulation of matters re-        section 824e(e), 824e(f), 1 824i, 824j , 824j-1, 824k,
   lating to generation to the extent provided in         8240, 8240-l, 824p, 824q, 824r, 824s, 824t, 824u, or
   this subchapter and subchapter III of this chap-       824v of this title).
   ter and of that part of such business which con-       (f) United States, State, political subdivision of a
   sists of the transmission of electric energy in            State, or agency or instrumentality thereof
   interstate commerce and the sale of such energy            exempt
   at wholesale in interstate commerce is nec-              No provision in this subchapter shall apply to,
   essary in the public interest, such Federal regu-      or be deemed to include, the United States, a
   lation, however, to extend only to those matters       State or any political subdivision of a State, an
   which are not subject to regulation by the             electric cooperative that receives financing
   States.                                                under the Rural Electrification Act of 1936 (7
   (b) Use or sale of electric energy in interstate       U.S.C. 901 et seq.) or that sells less than 4,000,000
       commerce                                           megawatt hours of electricity per year, or any
     (1) The provisions of this subchapter shall          agency, authority, or instrumentality of any
   apply to the transmission of electric energy in        one or more of the foregoing, or any corporation
   interstate commerce and to the sale of electric        which is wholly owned, directly or indirectly , by
   energy at wholesale in interstate commerce, but        any one or more of the foregoing, or any officer,
   except as provided in paragraph (2) shall not          agent, or employee of any of the foregoing act-
   apply to any other sale of electric energy or de-      ing as such in the course of his official duty, un-
   prive a State or State commission of its lawful        less such provision makes specific reference
   authority now exercised over the exportation of        thereto.
   hydroelectric energy which is transmitted              (g) Books and records
   across a State line. The Commission shall have           (1) Upon written order of a State commission,
   jurisdiction over all facilities for such trans-       a State commission may examine the books, ac-
   mission or sale of electric energy, but shall not      counts, memoranda, contracts, and records of-
   have jurisdiction, except as specifically provided         (A) an electric utility company subject to its
   in this subchapter and subchapter III of this            regulatory authority under State law,
   chapter, over facilities used for the generation           (B) any exempt wholesale generator selling
   of electric energy or over facilities used in local      energy at wholesale to such electric utility,
   distribution or only for the transmission of elec-       and
   tric energy in intrastate commerce, or over fa-            (C) any electric utility company, or holding
   cilities for the transmission of electric energy         company thereof, which is an associate com-
   consumed wholly by the transmitter.                      pany or affiliate of an exempt wholesale gener-
     (2) Notwithstanding subsection (f), the provi-         ator which sells electric energy to an electric
   sions of sections 824b(a)(2), 824e(e), 824i, 824j,       utility company referred to in subparagraph
   824j-l, 824k, 8240, 8240-l, 824p, 824q, 824r, 824s,      (A),
   824t, 824u, and 824v of this title shall apply to      wherever located, if such examination is re-
   the entities described in such provisions, and         quired for the effective discharge of the State
   such entities shall be subject to the jurisdiction     commission's regulatory responsibilities affect-
   of the Commission for purposes of carrying out         ing the provision of electric service.
   such provisions and for purposes of applying the         (2) Where a State commission issues an order
   enforcement authorities of this chapter with re-       pursuant to paragraph (1), the State commission
   spect to such provisions. Compliance with any          shall not publicly disclose trade secrets or sen-
   order or rule of the Commission under the provi-       sitive commercial information.
   sions of section 824b(a)(2), 824e(e), 824i, 824j,        (3) Any United States district court located in
   824j-l, 824k, 8240, 8240-l, 824p, 824q, 824r, 824s,    the State in which the State commission re-
   824t, 824u, or 824v of this title, shall not make an   ferred to in paragraph (1) is located shall have
   electric utility or other entity subject to the ju-    jurisdiction to enforce compliance with this sub-
   risdiction of the Commission for any purposes          section.
   other than the purposes specified in the pre-            (4) Nothing in this section shall-
   ceding sentence.                                           (A) preempt applicable State law concerning
                                                            the provision of records and other informa-
   (c) Electric energy in interstate commerce               tion; or
     For the purpose of this subchapter, electric             (B) in any way limit rights to obtain records
   energy shall be held to be transmitted in inter-         and other information under Federal law, con-
   state commerce if transmitted from a State and           tracts, or otherwise.
   consumed at any point outside thereof; but only
   insofar as such transmission takes place within          1 So in original. Section 824e of this title does not contain a
   the United States.                                     subsec. (f).




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      (5) As used in this subsection the terms "affil-                       Statutory Notes and Related Subsidiaries
   iate", "associate company", "electric utility                                EFFECTIVE DATE OF 2005 AMENDMENT
   company", "holding company", "subsidiary
                                                                        Amendment by section 1277(b)(l) of Pub. L. 109--58 ef-
   company", and "exempt wholesale generator"                         fective 6 months after Aug. 8, 2005, with provisions re-
   shall have the same meaning as when used in                        lating to effect of compliance with certain regulations
   the Public Utility Holding Company Act of 2005                     approved and made effective prior to such date, see sec-
   [42 U.S.C. 16451 et seq.].                                         tion 1274 of Pub. L. 109--58, set out as an Effective Date
                                                                      note under section 16451 of Title 42, The Public Health
   (June 10, 1920, ch. 285, pt. II, §201, as added Aug.               and Welfare.
   26, 1935, ch. 687, title II, §213, 49 Stat. 847; amend-
   ed Pub. L. 95--617, title II, §204(b), Nov. 9, 1978, 92                        STATE AUTHORITIES; CONSTRUCTION
   Stat. 3140; Pub. L. 102---486, title VII, § 714, Oct. 24,            Nothing in amendment by Pub. L. 102--486 to be con-
   1992, 106 Stat. 2911; Pub. L. 109--58, title XII,                  strued as affecting or intending to affect, or in any way
   §§ 1277(b)(l), 1291(c), 1295(a), Aug. 8, 2005, 119 Stat.           to interfere with, authority of any State or local gov-
   978, 985; Pub. L. 114--94, div. F, §61003(b), Dec. 4,              ernment relating to environmental protection or siting
   2015, 129 Stat. 1778.)                                             of facilities, see section 731 of Pub. L. 102--486, set out
                                                                      as a note under section 796 of this title.
                                                                           PRIOR ACTIONS; EFFECT ON OTHER AUTHORITIES
                          Editorial Notes
                                                                        Pub. L. 95--617, title II, §214, Nov. 9, 1978, 92 Stat. 3149,
                                                                      provided that:
                      REFERENCES IN TEXT                                 "(a) PRIOR ACTIONS.-No provision of this title [enact-
     The Rural Electrification Act of 1936, referred to in            ing sections 823a, 824i to 824k, 824a-1 to 824a-3 and
   subsec. (f), is act May 20, 1936, ch. 432, 49 Stat. 1363,          825q-1 of this title, amending sections 796, 824, 824a,
   which is classified generally to chapter 31 (§ 901 et seq.)        824d, and 825d of this title and enacting provisions set
   of Title 7, Agriculture. For complete classification of            out as notes under sections 824a, 824d, and 825d of this
   this Act to the Code, see section 901 of Title 7 and Ta-           title] or of any amendment made by this title shall
                                                                      apply to, or affect, any action taken by the Commis-
   bles.
     The Public Utility Holding Company Act of 2005, re-              sion [Federal Energy Regulatory Commission] before
                                                                      the date of the enactment of this Act [Nov. 9, 1978].
   ferred to in subsec. (g)(5), is subtitle F of title XII of            "(b) OTHER AUTHORITIES.-No provision of this title
   Pub. L. 109--58, Aug. 8, 2005, 119 Stat. 972, which is classi-     [enacting sections 823a, 824i to 824k, 824a-1 to 824a-3 and
   fied principally to part D (§ 16451 et seq.) of subchapter
                                                                      825q-1 of this title, amending sections 796, 824, 824a,
   XII of chapter 149 of Title 42, The Public Health and              824d, and 825d of this title and enacting provisions set
   Welfare. For complete classification of this Act to the            out as notes under sections 824a, 824d, and 825d of this
   Code, see Short Title note set out under section 15801             title] or of any amendment made by this title shall
   of Title 42 and Tables.                                            limit, impair or otherwise affect any authority of the
                                                                      Commission or any other agency or instrumentality of
                           AMENDMENTS                                 the United States under any other provision of law ex-
                                                                      cept as specifically provided in this title."
     2015----Subsec. (b)(2). Pub. L. 114-94, §61003(b)(l), in-
   serted "8240-l," after "8240," in two places.                      § 824a.  Interconnection and coordination of fa-
     Subsec. (e). Pub. L. 114-94, § 61003(b)(2), inserted                 cilities; emergencies; transmission to foreign
   "8240---l," after "8240,".
     2005----Subsec. (b)(2). Pub. L. 109--58, § 1295(a)(l), sub-          countries
   stituted "Notwithstanding subsection (f), the provi-               (a) Regional districts; establishment; notice to
   sions of sections 824b(a)(2), 824e(e), 824i, 824j, 824j-1,             State commissions
   824k, 8240, 824p, 824q, 824r, 824s, 824t, 824u, and 824v of
   this title" for "The provisions of sections 824i, 824j, and          For the purpose of assuring an abundant sup-
   824k of this title" and "Compliance with any order or              ply of electric energy throughout the United
   rule of the Commission under the provisions of section             States with the greatest possible economy and
   824b(a)(2), 824e(e), 824i, 824j, 824j-1, 824k, 8240, 824p, 824q,   with regard to the proper utilization and con-
   824r, 824s, 824t, 824u, or 824v of this title" for "Compli-        servation of natural resources, the Commission
   ance with any order of the Commission under the provi-             is empowered and directed to divide the country
   sions of section 824i or 824j of this title".                      into regional districts for the voluntary inter-
     Subsec. (e). Pub. L. 109--58, §1295(a)(2), substituted
   "section 824e(e), 824e(f), 824i, 824j, 824j-1, 824k, 8240, 824p,   connection and coordination of facilities for the
   824q, 824r, 824s, 824t, 824u, or 824v of this title" for "sec-     generation, transmission, and sale of electric en-
   tion 824i, 824j, or 824k of this title".                           ergy, and it may at any time thereafter, upon
     Subsec. (f). Pub. L. 109---58, §1291(c), which directed          its own motion or upon application, make such
   amendment of subsec. (f) by substituting "political                modifications thereof as in its judgment will
   subdivision of a State, an electric cooperative that re-           promote the public interest. Each such district
   ceives financing under the Rural Electrification Act of            shall embrace an area which, in the judgment of
   1936 (7 U.S.C. 901 et seq.) or that sells less than 4,000,000      the Commission, can economically be served by
   megawatt hours of electricity per year," for "political
   subdivision of a state,", was executed by making the               such interconnection and coordinated electric
   substitution for "political subdivision of a State," to            facilities. It shall be the duty of the Commission
   reflect the probable intent of Congress.                           to promote and encourage such interconnection
     Subsec. (g)(5). Pub. L. 109--58, § 1277(b)(l), substituted       and coordination within each such district and
   "2005" for "1935".                                                 between such districts. Before establishing any
     1992---Subsec. (g). Pub. L. 102--486 added subsec. (g).          such district and fixing or modifying the bound-
     1978---Subsec. (b). Pub. L. 95--617, §204(b)(l), designated      aries thereof the Commission shall give notice
   existing provisions as par. (1), inserted "except as pro-          to the State commission of each State situated
   vided in paragraph (2)" after "in interstate commerce,
   but", and added par. (2).
                                                                      wholly or in part within such district, and shall
     Subsec. (e). Pub. L. 95--617, §204(b)(2), inserted "(other       afford each such State commission reasonable
   than facilities subject to such jurisdiction solely by             opportunity to present its views and rec-
   reason of section 824i, 824j, or 824k of this title)" after        ommendations, and shall receive and consider
   "under this subchapter".                                           such views and recommendations.




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   indorser, surety, or otherwise in respect of any     issue, renewal, or assumption of liability, the
   security of another person, unless and until, and    public utility shall file with the Commission a
   then only to the extent that, upon application       certificate of notification, in such form as may
   by the public utility, the Commission by order       be prescribed by the Commission, setting forth
   authorizes such issue or assumption of liability.    such matters as the Commission shall by regula-
   The Commission shall make such order only if it      tion require.
   finds that such issue or assumption (a) is for       (f) Public utility securities regulated by State not
   some lawful object, within the corporate pur-            affected
   poses of the applicant and compatible with the
   public interest, which is necessary or appro-          The provisions of this section shall not extend
   priate for or consistent with the proper perform-    to a public utility organized and operating in a
   ance by the applicant of service as a public util-   State under the laws of which its security issues
   ity and which will not impair its ability to per-    are regulated by a State commission.
   form that service, and (b) is reasonably nec-        (g) Guarantee or obligation on part of United
   essary or appropriate for such purposes. The pro-        States
   visions of this section shall be effective six         Nothing in this section shall be construed to
   months after August 26, 1935.                        imply any guarantee or obligation on the part of
   (b) Application approval or modification; supple-    the United States in respect of any securities to
       mental orders                                    which the provisions of this section relate.
     The Commission, after opportunity for hear-        (h) Filing duplicate reports with the Securities
   ing, may grant any application under this sec-           and Exchange Commission
   tion in whole or in part, and with such modifica-      Any public utility whose security issues are
   tions and upon such terms and conditions as it       approved by the Commission under this section
   may find necessary or appropriate, and may           may file with the Securities and Exchange Com-
   from time to time, after opportunity for hearing     mission duplicate copies of reports filed with the
   and for good cause shown, make such supple-          Federal Power Commission in lieu of the re-
   mental orders in the premises as it may find         ports, information, and documents required
   necessary or appropriate, and may by any such        under sections 77g, 78l, and 78m of title 15.
   supplemental order modify the provisions of any      (June 10, 1920, ch. 285, pt. II, §204, as added Aug.
   previous order as to the particular purposes,        26, 1935, ch. 687, title II, §213, 49 Stat. 850.)
   uses, and extent to which, or the conditions
   under which, any security so theretofore author-                       Executive Documents
   ized or the proceeds thereof may be applied, sub-
   ject always to the requirements of subsection (a)                     TRANSFER OF FUNCTIONS
   of this section.                                       Executive and administrative functions of Securities
   (c) Compliance with order of Commission              and Exchange Commission, with certain exceptions,
                                                        transferred to Chairman of such Commission, with au-
     No public utility shall, without the consent of    thority vested in him to authorize their performance
   the Commission, apply any security or any pro-       by any officer, employee, or administrative unit under
   ceeds thereof to any purpose not specified in the    his jurisdiction, by Reorg. Plan No . 10 of 1950, §§1, 2, eff.
   Commission's order, or supplemental order, or        May 24, 1950, 15 F.R. 3175, 64 Stat. 1265, set out in the
   to any purpose in excess of the amount allowed       Appendix to Title 5, Government Organization and Em-
   for such purpose in such order, or otherwise in      ployees.
   contravention of such order.                         § 824d. Rates and charges; schedules; suspension
   (d) Authorization of capitalization not to exceed        of new rates; automatic adjustment clauses
       amount paid                                      (a) Just and reasonable rates
     The Commission shall not authorize the cap-          All rates and charges made, demanded, or re-
   italization of the right to be a corporation or of   ceived by any public utility for or in connection
   any franchise, permit, or contract for consolida-    with the transmission or sale of electric energy
   tion, merger, or lease in excess of the amount       subject to the jurisdiction of the Commission,
   (exclusive of any tax or annual charge) actually     and all rules and regulations affecting or per-
   paid as the consideration for such right, fran-      taining to such rates or charges shall be just and
   chise, permit, or contract.                          reasonable, and any such rate or charge that is
   (e) Notes or drafts maturing less than one year      not just and reasonable is hereby declared to be
       after issuance                                   unlawful.
     Subsection (a) shall not apply to the issue or     (b) Preference or advantage unlawful
   renewal of, or assumption of liability on, a note      No public utility shall, with respect to any
   or draft maturing not more than one year after       transmission or sale subject to the jurisdiction
   the date of such issue, renewal, or assumption of    of the Commission, (1) make or grant any undue
   liability, and aggregating (together with all        preference or advantage to any person or subject
   other then outstanding notes and drafts of a ma-     any person to any undue prejudice or disadvan-
   turity of one year or less on which such public      tage, or (2) maintain any unreasonable dif-
   utility is primarily or secondarily liable) not      ference in rates, charges, service, facilities, or in
   more than 5 per centum of the par value of the       any other respect, either as between localities
   other securities of the public utility then out-     or as between classes of service.
   standing. In the case of securities having no par
   value, the par value for the purpose of this sub-    (c) Schedules
   section shall be the fair market value as of the      Under such rules and regulations as the Com-
   date of issue. Within ten days after any such        mission may prescribe, every public utility shall




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   file with the Commission, within such time and         sion shall be found not justified. At any hearing
   in such form as the Commission may designate,          involving a rate or charge sought to be in-
   and shall keep open in convenient form and             creased, the burden of proof to show that the in-
   place for public inspection schedules showing all      creased rate or charge is just and reasonable
   rates and charges for any transmission or sale         shall be upon the public utility, and the Com-
   subject to the jurisdiction of the Commission,         mission shall give to the hearing and decision of
   and the classifications, practices, and regula-        such questions preference over other questions
   tions affecting such rates and charges, together       pending before it and decide the same as speed-
   with all contracts which in any manner affect or       ily as possible.
   relate to such rates, charges, classifications, and    (f) Review of automatic adjustment clauses and
   services.                                                 public utility practices; action by Commis-
   (d) Notice required for rate changes                      sion; "automatic adjustment clause" defined
      Unless the Commission otherwise orders, no            (1) Not later than 2 years after November 9,
   change shall be made by any public utility in          1978, and not less often than every 4 years there-
   any such rate, charge, classification, or service,     after, the Commission shall make a thorough re-
   or in any rule, regulation, or contract relating       view of automatic adjustment clauses in public
   thereto, except after sixty days' notice to the        utility rate schedules to examine---
   Commission and to the public. Such notice shall            (A) whether or not each such clause effec-
   be given by filing with the Commission and               tively provides incentives for efficient use of
   keeping open for public inspection new sched-            resources (including economical purchase and
   ules stating plainly the change or changes to be         use of fuel and electric energy), and
   made in the schedule or schedules then in force            (B) whether any such clause reflects any
   and the time when the change or changes will go          costs other than costs which are---
   into effect. The Commission, for good cause                   (i) subject to periodic fluctuations and
   shown, may allow changes to take effect with-
                                                                 (ii) not susceptible to precise determina-
   out requiring the sixty days' notice herein pro-           tions in rate cases prior to the time such
   vided for by an order specifying the changes so
   to be made and the time when they shall take               costs are incurred.
   effect and the manner in which they shall be           Such review may take place in individual rate
   filed and published.                                   proceedings or in generic or other separate pro-
   (e) Suspension of new rates; hearings; five-month      ceedings applicable to one or more utilities.
       period                                               (2) Not less frequently than every 2 years, in
     Whenever any such new schedule is filed the          rate proceedings or in generic or other separate
   Commission shall have authority, either upon           proceedings, the Commission shall review, with
   complaint or upon its own initiative without           respect to each public utility, practices under
   complaint, at once, and, if it so orders, without      any automatic adjustment clauses of such util-
   answer or formal pleading by the public utility,       ity to insure efficient use of resources (including
   but upon reasonable notice, to enter upon a            economical purchase and use of fuel and electric
   hearing concerning the lawfulness of such rate,        energy) under such clauses.
   charge, classification, or service; and, pending         (3) The Commission may, on its own motion or
   such hearing and the decision thereon, the Com-        upon complaint, after an opportunity for an evi-
   mission, upon filing with such schedules and de-       dentiary hearing, order a public utility to-
   livering to the public utility affected thereby a          (A) modify the terms and provisions of any
   statement in writing of its reasons for such sus-        automatic adjustment clause, or
   pension, may suspend the operation of such                 (B) cease any practice in connection with
   schedule and defer the use of such rate, charge,         the clause,
   classification, or service, but not for a longer pe-   if such clause or practice does not result in the
   riod than five months beyond the time when it          economical purchase and use of fuel, electric en-
   would otherwise go into effect; and after full         ergy, or other items, the cost of which is in-
   hearings, either completed before or after the         cluded in any rate schedule under an automatic
   rate, charge, classification, or service goes into     adjustment clause.
   effect, the Commission may make such orders              (4) As used in this subsection, the term "auto-
   with reference thereto as would be proper in a         matic adjustment clause" means a provision of
   proceeding initiated after it had become effec-        a rate schedule which provides for increases or
   tive. If the proceeding has not been concluded         decreases (or both), without prior hearing, in
   and an order made at the expiration of such five       rates reflecting increases or decreases (or both)
   months, the proposed change of rate, charge,           in costs incurred by an electric utility. Such
   classification, or service shall go into effect at     term does not include any rate which takes ef-
   the end of such period, but in case of a proposed      fect subject to refund and subject to a later de-
   increased rate or charge, the Commission may           termination of the appropriate amount of such
   by order require the interested public utility or      rate.
   public utilities to keep accurate account in de-       (g) Inaction of Commissioners
   tail of all amounts received by reason of such in-
   crease, specifying by whom and in whose behalf           (1) In general
   such amounts are paid, and upon completion of             With respect to a change described in sub-
   the hearing and decision may by further order           section (d), if the Commission permits the 60-
   require such public utility or public utilities to      day period established therein to expire with-
   refund, with interest, to the persons in whose          out issuing an order accepting or denying the
   behalf such amounts were paid, such portion of          change because the Commissioners are divided
   such increased rates or charges as by its deci-         two against two as to the lawfulness of the




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     change, as a result of vacancy, incapacity, or               sale subject to the jurisdiction of the Commis-
     recusal on the Commission, or if the Commis-                 sion, or that any rule, regulation, practice, or
     sion lacks a quorum-                                         contract affecting such rate, charge, or classi-
           (A) the failure to issue an order accepting            fication is unjust, unreasonable, unduly dis-
        or denying the change by the Commission                   criminatory or preferential, the Commission
        shall be considered to be an order issued by              shall determine the just and reasonable rate,
        the Commission accepting the change for                   charge, classification, rule, regulation, practice,
        purposes of section 825l(a) of this title; and            or contract to be thereafter observed and in
           (B) each Commissioner shall add to the                 force, and shall fix the same by order. Any com-
        record of the Commission a written state-                 plaint or motion of the Commission to initiate
        ment explaining the views of the Commis-                  a proceeding under this section shall state the
        sioner with respect to the change.                        change or changes to be made in the rate,
     (2) Appeal                                                   charge, classification, rule, regulation, practice,
                                                                  or contract then in force, and the reasons for
        If, pursuant to this subsection, a person                 any proposed change or changes therein. If, after
     seeks a rehearing under section 825l(a) of this              review of any motion or complaint and answer,
     title, and the Commission fails to act on the                the Commission shall decide to hold a hearing,
     merits of the rehearing request by the date                  it shall fix by order the time and place of such
     that is 30 days after the date of the rehearing              hearing and shall specify the issues to be adju-
     request because the Commissioners are divided                dicated.
     two against two, as a result of vacancy, inca-
     pacity, or recusal on the Commission, or if the              (b) Refund effective date; preferential pro-
     Commission lacks a quorum, such person may                       ceedings; statement of reasons for delay; bur-
     appeal under section 825l(b) of this title.                      den of proof; scope of refund order; refund
                                                                      orders in cases of dilatory behavior; interest
   (June 10, 1920, ch. 285, pt. II, §205, as added Aug.
   26, 1935, ch. 687, title II, §213, 49 Stat. 851; amend-          Whenever the Commission institutes a pro-
   ed Pub. L. 95----617, title II, §§207(a), 208, Nov. 9,         ceeding under this section, the Commission
   1978, 92 Stat. 3142; Pub. L. 115--270, title III, §3006,       shall establish a refund effective date. In the
   Oct. 23, 2018, 132 Stat. 3868.)                                case of a proceeding instituted on complaint,
                                                                  the refund effective date shall not be earlier
                        Editorial Notes                           than the date of the filing of such complaint nor
                                                                  later than 5 months after the filing of such com-
                         AMENDMENTS                               plaint. In the case of a proceeding instituted by
     2018---Subsec. (g). Pub. L. 115---270 added subsec. (g).     the Commission on its own motion, the refund
     1978---Subsec. (d). Pub. L. 95---617, §207(a), substituted   effective date shall not be earlier than the date
   "sixty" for "thirty" in two places.                            of the publication by the Commission of notice
     Subsec. (f). Pub. L. 95---617, §208, added subsec. (f).      of its intention to initiate such proceeding nor
                                                                  later than 5 months after the publication date.
           Statutory Notes and Related Subsidiaries               Upon institution of a proceeding under this sec-
    STUDY OF ELECTRIC RATE INCREASES UNDER FEDERAL                tion, the Commission shall give to the decision
                       POWER ACT                                  of such proceeding the same preference as pro-
     Section 207(b) of Pub. L. 95---617 directed chairman of
                                                                  vided under section 824d of this title and other-
   Federal Energy Regulatory Commission, in consulta-             wise act as speedily as possible. If no final deci-
   tion with Secretary, to conduct a study of legal re-           sion is rendered by the conclusion of the 180-day
   quirements and administrative procedures involved in           period commencing upon initiation of a pro-
   consideration and resolution of proposed wholesale             ceeding pursuant to this section, the Commis-
   electric rate increases under Federal Power Act, sec-          sion shall state the reasons why it has failed to
   tion 791a et seq. of this title, for purposes of providing     do so and shall state its best estimate as to
   for expeditious handling of hearings consistent with           when it reasonably expects to make such deci-
   due process, preventing imposition of successive rate          sion. In any proceeding under this section, the
   increases before they have been determined by Com-
   mission to be just and reasonable and otherwise lawful,        burden of proof to show that any rate, charge,
   and improving procedures designed to prohibit anti-            classification, rule, regulation, practice, or con-
   competitive or unreasonable differences in wholesale           tract is unjust, unreasonable, unduly discrimi-
   and retail rates, or both, and that chairman report to         natory, or preferential shall be upon the Com-
   Congress within nine months from Nov. 9, 1978, on re-          mission or the complainant. At the conclusion
   sults of study, on administrative actions taken as a re-       of any proceeding under this section, the Com-
   sult of this study, and on any recommendations for             mission may order refunds of any amounts paid,
   changes in existing law that will aid purposes of this         for the period subsequent to the refund effective
   section.
                                                                  date through a date fifteen months after such
   § 824e. Power of Commission to fix rates and                   refund effective date, in excess of those which
       charges; determination of cost of production               would have been paid under the just and reason-
       or transmission                                            able rate, charge, classification, rule, regula-
                                                                  tion, practice, or contract which the Commis-
   (a) Unjust or preferential rates, etc.; statement of           sion orders to be thereafter observed and in
       reasons for changes; hearing; specification of             force: Provided, That if the proceeding is not
       issues                                                     concluded within fifteen months after the refund
     Whenever the Commission, after a hearing                     effective date and if the Commission determines
   held upon its own motion or upon complaint,                    at the conclusion of the proceeding that the pro-
   shall find that any rate, charge, or classifica-               ceeding was not resolved within the fifteen-
   tion, demanded, observed, charged, or collected                month period primarily because of dilatory be-
   by any public utility for any transmission or                  havior by the public utility, the Commission




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   may order refunds of any or all amounts paid for      Commission-approved tariff (rather than by con-
   the period subsequent to the refund effective         tract) and the sale violates the terms of the tar-
   date and prior to the conclusion of the pro-          iff or applicable Commission rules in effect at
   ceeding. The refunds shall be made, with inter-       the time of the sale, the entity shall be subject
   est, to those persons who have paid those rates       to the refund authority of the Commission under
   or charges which are the subject of the pro-          this section with respect to the violation.
   ceeding.                                                 (3) This section shall not apply to--
   (c) Refund considerations; shifting costs; reduc-          (A) any entity that sells in total (including
       tion in revenues; "electric utility companies"       affiliates of the entity) less than 8,000,000
       and "registered holding company" defined             megawatt hours of electricity per year; or
                                                              (B) an electric cooperative.
     Notwithstanding subsection (b), in a pro-
   ceeding commenced under this section involving           (4)(A) The Commission shall have refund au-
   two or more electric utility companies of a reg-      thority under paragraph (2) with respect to a
   istered holding company, refunds which might          voluntary short term sale of electric energy by
   otherwise be payable under subsection (b) shall       the Bonneville Power Administration only if the
   not be ordered to the extent that such refunds        sale is at an unjust and unreasonable rate.
   would result from any portion of a Commission            (B) The Commission may order a refund under
   order that (1) requires a decrease in system pro-     subparagraph (A) only for short-term sales made
   duction or transmission costs to be paid by one       by the Bonneville Power Administration at
   or more of such electric companies; and (2) is        rates that are higher than the highest just and
   based upon a determination that the amount of         reasonable rate charged by any other entity for
   such decrease should be paid through an in-           a short-term sale of electric energy in the same
   crease in the costs to be paid by other electric      geographic market for the same, or most nearly
   utility companies of such registered holding          comparable, period as the sale by the Bonneville
   company: Provided, That refunds, in whole or in       Power Administration.
   part, may be ordered by the Commission if it de-         (C) In the case of any Federal power mar-
   termines that the registered holding company          keting agency or the Tennessee Valley Author-
   would not experience any reduction in revenues        ity, the Commission shall not assert or exercise
   which results from an inability of an electric        any regulatory authority or power under para-
   utility company of the holding company to re-         graph (2) other than the ordering of refunds to
   cover such increase in costs for the period be-       achieve a just and reasonable rate.
   tween the refund effective date and the effective     (June 10, 1920, ch. 285, pt. II, §206, as added Aug.
   date of the Commission's order. For purposes of       26, 1935, ch. 687, title II, §213, 49 Stat. 852; amend-
   this subsection, the terms "electric utility com-     ed Pub. L. 100-473, §2, Oct. 6, 1988, 102 Stat. 2299;
   panies" and "registered holding company" shall        Pub. L. 109-58, title XII, §§1285, 1286, 1295(b), Aug.
   have the same meanings as provided in the Pub-        8, 2005, 119 Stat. 980, 981, 985.)
   lic Utility Holding Company Act of 1935, as
   amended.1                                                                   Editorial Notes
   (d) Investigation of costs                                               REFERENCES IN TEXT
     The Commission upon its own motion, or upon            The Public Utility Holding Company Act of 1935, re-
   the request of any State commission whenever          ferred to in subsec. (c), is title I of act Aug. 26, 1935, ch.
   it can do so without prejudice to the efficient       687, 49 Stat. 803, which was classified generally to chap-
   and proper conduct of its affairs, may inves-         ter 2C (§79 et seq.) of Title 15, Commerce and Trade,
                                                         prior to repeal by Pub. L. 109--58, title XII, §1263, Aug.
   tigate and determine the cost of the production       8, 2005, 119 Stat. 974. For complete classification of this
   or transmission of electric energy by means of        Act to the Code, see Tables.
   facilities under the jurisdiction of the Commis-
                                                                                AMENDMENTS
   sion in cases where the Commission has no au-
   thority to establish a rate governing the sale of       2005---Subsec. (a). Pub. L. 109--58, § 1295(b)(l), sub-
   such energy.                                          stituted "hearing held" for "hearing had" in first sen-
                                                         tence.
   (e) Short-term sales                                    Subsec. (b). Pub. L. 109--58, §1295(b)(2), struck out "the
     (1) In this subsection:                             public utility to make" before "refunds of any amounts
        (A) The term "short-term sale" means an          paid" in seventh sentence.
     agreement for the sale of electric energy at          Pub. L. 109--58, §1285, in second sentence, substituted
                                                         "the date of the filing of such complaint nor later than
     wholesale in interstate commerce that is for a      5 months after the filing of such complaint" for "the
     period of 31 days or less (excluding monthly        date 60 days after the filing of such complaint nor later
     contracts subject to automatic renewal).            than 5 months after the expiration of such 60-day pe-
        (B) The term "applicable Commission rule"        riod", in third sentence, substituted "the date of the
     means a Commission rule applicable to sales         publication" for "the date 60 days after the publica-
     at wholesale by public utilities that the Com-      tion" and "5 months after the publication date" for "5
     mission determines after notice and comment         months after the expiration of such 60-day period", and
     should also be applicable to entities subject to    in fifth sentence, substituted "If no final decision is
                                                         rendered by the conclusion of the 180-day period com-
     this subsection.                                    mencing upon initiation of a proceeding pursuant to
     (2) If an entity described in section 824(f) of     this section, the Commission shall state the reasons
   this title voluntarily makes a short-term sale of     why it has failed to do so and shall state its best esti-
                                                         mate as to when it reasonably expects to make such de-
   electric energy through an organized market in        cision" for "If no final decision is rendered by the re-
   which the rates for the sale are established by       fund effective date or by the conclusion of the 180-day
                                                         period commencing upon initiation of a proceeding pur-
    1   See References in Text note below.               suant to this section, whichever is earlier, the Commis-




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   sion shall state the reasons why it has failed to do so         § 824g. Ascertainment of cost of property and de-
   and shall state its best estimate as to when it reason-              preciation
   ably expects to make such decision".
     Subsec. (e). Pub. L. 109--58, §1286, added subsec. (e).       (a) Investigation of property costs
     1988---Subsec. (a). Pub. L. 100-473, §2(1), inserted provi-     The Commission may investigate and ascer-
   sions for a statement of reasons for listed changes,            tain the actual legitimate cost of the property
   hearings, and specification of issues.                          of every public utility, the depreciation therein,
     Subsecs. (b) to (d). Pub. L. 100-473, §2(2), added sub-
   secs. (b) and (c) and redesignated former subsec. (b) as        and, when found necessary for rate-making pur-
   (d).                                                            poses, other facts which bear on the determina-
                                                                   tion of such cost or depreciation, and the fair
                                                                   value of such property.
           Statutory Notes and Related Subsidiaries
                                                                   (b) Request for inventory and cost statements
             EFFECTIVE DATE OF 1988 AMENDMENT                        Every public utility upon request shall file
     Pub. L. 100-473, §4, Oct. 6, 1988, 102 Stat. 2300, provided   with the Commission an inventory of all or any
   that: "The amendments made by this Act [amending                part of its property and a statement of the origi-
   this section] are not applicable to complaints filed or         nal cost thereof, and shall keep the Commission
   motions initiated before the date of enactment of this          informed regarding the cost of all additions, bet-
   Act [Oct. 6, 1988] pursuant to section 206 of the Federal       terments, extensions, and new construction.
   Power Act [this section]: Provided, however, That such
   complaints may be withdrawn and refiled without prej-           (June 10, 1920, ch. 285, pt. II, §208, as added Aug.
   udice."                                                         26, 1935, ch. 687, title II, §213, 49 Stat. 853.)
              LIMITATION ON AUTHORITY PROVIDED                     § 824h. References to State boards by Commis-
                                                                       sion
     Pub. L. 100-473, §3, Oct. 6, 1988, 102 Stat. 2300, provided
   that: "Nothing in subsection (c) of section 206 of the          (a) Composition of boards; force and effect of
   Federal Power Act, as amended (16 U.S.C. 824e(c)) shall             proceedings
   be interpreted to confer upon the Federal Energy Regu-            The Commission may refer any matter arising
   latory Commission any authority not granted to it               in the administration of this subchapter to a
   elsewhere in such Act [16 U.S.C. 791a et seq.] to issue an
   order that (1) requires a decrease in system production         board to be composed of a member or members,
   or transmission costs to be paid by one or more electric        as determined by the Commission, from the
   utility companies of a registered holding company; and          State or each of the States affected or to be af-
   (2) is based upon a determination that the amount of            fected by such matter. Any such board shall be
   such decrease should be paid through an increase in the         vested with the same power and be subject to
   costs to be paid by other electric utility companies of         the same duties and liabilities as in the case of
   such registered holding company. For purposes of this           a member of the Commission when designated
   section, the terms 'electric utility companies' and 'reg-       by the Commission to hold any hearings. The
   istered holding company' shall have the same meanings           action of such board shall have such force and
   as provided in the Public Utility Holding Company Act
   of 1935, as amended [15 U.S.C. 79 et seq.]."                    effect and its proceedings shall be conducted in
                                                                   such manner as the Commission shall by regula-
                              STUDY                                tions prescribe. The board shall be appointed by
                                                                   the Commission from persons nominated by the
     Pub. L. 100-473, §5, Oct. 6, 1988, 102 Stat. 2301, directed
   that, no earlier than three years and no later than four        State commission of each State affected or by
   years after Oct. 6, 1988, Federal Energy Regulatory             the Governor of such State if there is no State
   Commission perform a study of effect of amendments              commission. Each State affected shall be enti-
   to this section, analyzing (1) impact, if any, of such          tled to the same number of representatives on
   amendments on cost of capital paid by public utilities,         the board unless the nominating power of such
   (2) any change in average time taken to resolve pro-            State waives such right. The Commission shall
   ceedings under this section, and (3) such other matters         have discretion to reject the nominee from any
   as Commission may deem appropriate in public inter-             State, but shall thereupon invite a new nomina-
   est, with study to be sent to Committee on Energy and           tion from that State. The members of a board
   Natural Resources of Senate and Committee on Energy
   and Commerce of House of Representatives.                       shall receive such allowances for expenses as the
                                                                   Commission shall provide. The Commission
   § 824f. Ordering furnishing of adequate service                 may, when in its discretion sufficient reason ex-
                                                                   ists therefor, revoke any reference to such a
     Whenever the Commission, upon complaint of                    board.
   a State commission, after notice to each State                  (b) Cooperation with State commissions
   commission and public utility affected and after                  The Commission may confer with any State
   opportunity for hearing, shall find that any                    commission regarding the relationship between
   interstate service of any public utility is inad-               rate structures, costs, accounts, charges, prac-
   equate or insufficient, the Commission shall de-                tices, classifications, and regulations of public
   termine the proper, adequate, or sufficient serv-               utilities subject to the jurisdiction of such State
   ice to be furnished, and shall fix the same by its              commission and of the Commission; and the
   order, rule, or regulation: Provided, That the                  Commission is authorized, under such rules and
   Commission shall have no authority to compel                    regulations as it shall prescribe, to hold joint
   the enlargement of generating facilities for such               hearings with any State commission in connec-
   purposes, nor to compel the public utility to sell              tion with any matter with respect to which the
   or exchange energy when to do so would impair                   Commission is authorized to act. The Commis-
   its ability to render adequate service to its cus-              sion is authorized in the administration of this
   tomers.                                                         chapter to avail itself of such cooperation, serv-
   (June 10, 1920, ch. 285, pt. II, §207, as added Aug.            ices, records, and facilities as may be afforded
   26, 1935, ch. 687, title II, §213, 49 Stat. 853.)               by any State commission.




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     pany, or any other organization primarily en-                         Statutory Notes and Related Subsidiaries
     gaged in the business of providing financial                             EFFECTIVE DATE OF 1978 AMENDMENT
     services or credit, a mutual savings bank, or a
     savings and loan association;                                    Pub. L . 95---617, title II, §211(b), Nov . 9, 1978, 92 Stat.
        (B) any company, firm, or organization                      3147, provided that: " No person shall be required to file
                                                                    a statement under section 305(c)(l) of the Federal
     which is authorized by law to underwrite or                    Power Act [subsec. (c)(l) of this section] before April 30
     participate in the marketing of securities of a                of the second calendar year which begins after the date
     public utility;                                                of the enactment of this Act [Nov. 9, 1978] and no public
        (C) any company, firm, or organization                      utility shall be required to publish a list under section
     which produces or supplies electrical equip-                   305(c)(2) of such Act [subsec. (c)(2) of this section] be-
     ment or coal, natural gas, oil, nuclear fuel , or              fore January 31 of such second calendar year. "
     other fuel, for the use of any public utility;
                                                                    § 825e. Complaints
        (D) any company, firm, or organization
     which during any one of the 3 calendar years                     Any person, electric utility, State, mumm-
     immediately preceding the filing date was one                  pality, or State commission complaining of any-
     of the 20 purchasers of electric energy which                  thing done or omitted to be done by any li-
     purchased (for purposes other than for resale)                 censee, transmitting utility, or public utility in
     one of the 20 largest annual amounts of elec-                  contravention of the provisions of this chapter
     tric energy sold by such public utility (or by                 may apply to the Commission by petition which
     any public utility which is part of the same                   shall briefly state the facts, whereupon a state-
     holding company system) during any one of                      ment of the complaint thus made shall be for-
     such three calendar years;                                     warded by the Commission to such licensee,
        (E) any entity referred to in subsection (b);               transmitting utility, or public utility, who shall
     and                                                            be called upon to satisfy the complaint or to an-
        (F) any company, firm, or organization                      swer the same in writing within a reasonable
     which is controlled by any company, firm, or                   time to be specified by the Commission. If such
     organization referred to in this paragraph.                    licensee , transmitting utility, or public utility
   On or before January 31 of each calendar year,                   shall not satisfy the complaint within the time
   each public utility shall publish a list, pursuant               specified or there shall appear to be any reason-
   to rules prescribed by the Commission, of the                    able ground for investigating such complaint, it
   purchasers to which subparagraph (D) applies,                    shall be the duty of the Commission to inves-
   for purposes of any filing under paragraph (1) of                tigate the matters complained of in such man-
   such calendar year.                                              ner and by such means as it shall find proper.
     (3) For purposes of this subsection-                           (June 10, 1920, ch. 285, pt. III, §306, as added Aug.
        (A) The term "public utility" includes any                  26, 1935, ch. 687, title II, §213, 49 Stat. 856; amend-
     company which is a part of a holding company                   ed Pub. L . 109-58, title XII, § 1284(a), Aug. 8, 2005,
     system which includes a registered holding                     119 Stat. 980.)
     company, unless no company in such system is
     an electric utility.                                                                 Editorial Notes
        (B) The terms "holding company" , "reg-                                             AMENDMENTS
     istered holding company" , and "holding com-
     pany system" have the same meaning as when                       2005---Pub. L . 109-58 inserted "el ectric utility ," after
     used in the Public Utility Holding Company                     " Any person," and " , transmitting utility," after " li-
     Act of 1935_1                                                  censee" wherever appearing.

   (June 10, 1920, ch. 285, pt. III, §305, as added Aug.            § 825f. Investigations by Commission
   26, 1935, ch. 687, title II, §213, 49 Stat. 856; amend-          (a) Scope
   ed Pub. L. 95----617, title II, §211(a), Nov. 9, 1978, 92
   Stat. 3147; Pub. L. 106-102, title VII, §737, Nov.                 The Commission may investigate any facts,
   12, 1999, 113 Stat. 1479.)                                       conditions, practices, or matters which it may
                                                                    find necessary or proper in order to determine
                                                                    whether any person, electric utility, transmit-
                            Editorial Notes                         ting utility, or other entity has violated or is
                                                                    about to violate any provision of this chapter or
                        REFERENCES IN TEXT                          any rule, regulation, or order thereunder, or to
     The Public Utility Holding Company Act of 1935, re-            aid in the enforcement of the provisions of this
   ferred to in subsec. (c)(3)(B), is title I of act Aug. 26,       chapter or in prescribing rules or regulations
   1935, ch. 687, 49 Stat. 803, which was classified generally      thereunder, or in obtaining information to serve
   to chapter 2C (§79 et seq.) of Title 15, Commerce and            as a basis for recommending further legislation
   Trade, prior to repeal by Pub. L . 109-58, title XII , § 1263,   concerning the matters to which this chapter re-
   Aug. 8, 2005, 119 Stat. 974. For complete classification of      lates, or in obtaining information about the sale
   this Act to the Code, see Tables.                                of electric energy at wholesale in interstate
                                                                    commerce and the transmission of electric en-
                             AMENDMENTS                             ergy in interstate commerce. The Commission
     1999--Subsec. (b) . Pub. L . 106--102 inserted subsec.         may permit any person, electric utility, trans-
   heading, designated existing provisions as par. (1) , in-        mitting utility, or other entity to file with it a
   serted heading, and substituted " After 6" for " After           statement in writing under oath or otherwise, as
   six", and added par. (2).                                        it shall determine, as to any or all facts and cir-
     1978---Subsec. (c) . Pub. L . 95---617 added subsec. (c).      cumstances concerning a matter which may be
                                                                    the subject of investigation. The Commission, in
    1   See References In Text note below.                          its discretion, may publish or make available to




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                 not otherwise subject to the jurisdiction of the        (June 10, 1920, ch. 285, pt. III, §312, as added Aug.
                 Commission, including the generation, trans-            26, 1935, ch. 687, title II, §213, 49 Stat. 859; amend-
                 mission, distribution, and sale of electric energy      ed Pub. L. 113-235, div. H, title I , § 1301(b), (d),
                 by any agency, authority, or instrumentality of         Dec. 16, 2014, 128 Stat. 2537.)
                 the United States, or of any State or munici-
                 pality or other political subdivision of a State.                             Editorial Notes
                 It shall, so far as practicable, secure and keep
                                                                                                CODIFICATION
                 current information regarding the ownership,
                 operation, management, and control of all fa-             "Sections 1535 and 1536 of title 31" substituted in text
                 cilities for such generation, transmission, dis-        for " sections 601 and 602 of the Act of June 30, 1932 (47
                 tribution, and sale; the capacity and output            Stat. 417 [31 U.S.C. 686, 686b])" on authority of Pub. L.
                                                                         97-258, § 4(b ), Sept. 13, 1982, 96 Stat. 1067, the first sec-
                 thereof and the relationship between the two;           tion of which enacted Title 31, Money and Finance.
                 the cost of generation, transmission, and dis-
                 tribution; the rates, charges, and contracts in                Statutory Notes and Related Subsidiaries
                 respect of the sale of electric energy and its
                 service to residential, rural, commercial, and in-                           CHANGE OF NAME
                 dustrial consumers and other purchasers by pri-           "Director of the Government Publishing Office" sub-
                 vate and public agencies; and the relation of any       stituted for " Public Printer" in text on authority of
                 or all such facts to the development of naviga-         section 1301(d) of Pub. L . 113---235, set out as a note
                 tion, industry, commerce, and the national de-          under section 301 of Title 44, Public Printing and Docu-
                 fense . The Commission shall report to Congress         ments.
                 the results of investigations made under author-          " Government Publishing Office" substituted for
                                                                         "Government Printing Office" in text on authority of
                 ity of this section.                                    section 1301(b) of Pub. L . 113---235, set out as a note pre-
                 (June 10, 1920, ch. 285, pt. III, §311, as added Aug.   ceding section 301 of Title 44, Public Printing and Docu-
                 26, 1935, ch. 687, title II, §213, 49 Stat. 859.)       ments.

                 § 825k. Publication and sale of reports                 § 825l. Review of orders
                   The Commission may provide for the publica-           (a) Application for rehearing; time periods; modi-
                 tion of its reports and decisions in such form              fication of order
                 and manner as may be best adapted for public              Any person, electric utility, State, munici-
                 information and use, and is authorized to sell at       pality, or State commission aggrieved by an
                 reasonable prices copies of all maps, atlases, and      order issued by the Commission in a proceeding
                 reports as it may from time to time publish.            under this chapter to which such person, electric
                 Such reasonable prices may include the cost of          utility, State, municipality, or State commis-
                 compilation, composition, and reproduction.             sion is a party may apply for a rehearing within
                 The Commission is also authorized to make such          thirty days after the issuance of such order. The
                 charges as it deems reasonable for special statis-      application for rehearing shall set forth specifi-
                 tical services and other special or periodic serv-      cally the ground or grounds upon which such ap-
                 ices. The amounts collected under this section          plication is based. Upon such application the
                 shall be deposited in the Treasury to the credit        Commission shall have power to grant or deny
                 of miscellaneous receipts. All printing for the         rehearing or to abrogate or modify its order
                 Federal Power Commission making use of en-              without further hearing. Unless the Commission
                 graving, lithography, and photolithography, to-         acts upon the application for rehearing within
                 gether with the plates for the same, shall be           thirty days after it is filed, such application
                 contracted for and performed under the direc-           may be deemed to have been denied. No pro-
                 tion of the Commission, under such limitations          ceeding to review any order of the Commission
                 and conditions as the Joint Committee on Print-         shall be brought by any entity unless such enti-
                 ing may from time to time prescribe, and all            ty shall have made application to the Commis-
                 other printing for the Commission shall be done         sion for a rehearing thereon. Until the record in
                 by the Director of the Government Publishing            a proceeding shall have been filed in a court of
                 Office under such limitations and conditions as         appeals, as provided in subsection (b), the Com-
                 the Joint Committee on Printing may from time           mission may at any time, upon reasonable no-
                 to time prescribe. The entire work may be done          tice and in such manner as it shall deem proper,
                 at, or ordered through, the Government Pub-             modify or set aside, in whole or in part, any
                 lishing Office whenever, in the judgment of the         finding or order made or issued by it under the
                 Joint Committee on Printing, the same would             provisions of this chapter.
                 be to the interest of the Government: Provided ,
                 That when the exigencies of the public service          (b) Judicial review
                 so require, the Joint Committee on Printing               Any party to a proceeding under this chapter
                 may authorize the Commission to make imme-              aggrieved by an order issued by the Commission
                 diate contracts for engraving, lithographing,           in such proceeding may obtain a review of such
                 and photolithographing, without advertisement           order in the United States court of appeals for
                 for proposals: Provided further, That nothing           any circuit wherein the licensee or public utility
                 contained in this chapter or any other Act shall        to which the order relates is located or has its
                 prevent the Federal Power Commission from               principal place of business, or in the United
                 placing orders with other departments or estab-         States Court of Appeals for the District of Co-
                 lishments for engraving, lithographing, and             lumbia, by filing in such court, within sixty
                 photolithographing, in accordance with the pro-         days after the order of the Commission upon the
                 visions of sections 1535 and 1536 of title 31, pro-     application for rehearing, a written petition
                 viding for interdepartmental work.                      praying that the order of the Commission be




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   §825m                                      TITLE 16-----CONSERVATION                                           Page 1440

   modified or set aside in whole or in part. A copy             such entity" for "brought by any person unless such
   of such petition shall forthwith be transmitted               person".
   by the clerk of the court to any member of the                  1958---Subsec. (a). Pub. L. 85---791, §16(a), inserted sen-
                                                                 tence to provide that Commission may modify or set
   Commission and thereupon the Commission                       aside findings or orders until record has been filed in
   shall file with the court the record upon which               court of appeals.
   the order complained of was entered, as provided                Subsec. (b). Pub. L. 85---791, §16(b), in second sentence,
   in section 2112 of title 28. Upon the filing of such          substituted "transmitted by the clerk of the court to"
   petition such court shall have jurisdiction,                  for "served upon", substituted "file with the court" for
   which upon the filing of the record with it shall             "certify and file with the court a transcript of", and in-
   be exclusive, to affirm, modify, or set aside such            serted "as provided in section 2112 of title 28", and in
   order in whole or in part. No objection to the                third sentence, substituted "jurisdiction, which upon
                                                                 the filing of the record with it shall be exclusive" for
   order of the Commission shall be considered by                "exclusive jurisdiction".
   the court unless such objection shall have been
   urged before the Commission in the application                       Statutory Notes and Related Subsidiaries
   for rehearing unless there is reasonable ground
   for failure so to do. The finding of the Commis-                                   CHANGE OF NAME
   sion as to the facts, if supported by substantial               Act June 25, 1948, eff. Sept. 1, 1948, as amended by act
   evidence, shall be conclusive. If any party shall             May 24, 1949, substituted "court of appeals" for "circuit
   apply to the court for leave to adduce additional             court of appeals".
   evidence, and shall show to the satisfaction of
   the court that such additional evidence is mate-              § 825m. Enforcement provisions
   rial and that there were reasonable grounds for               (a) Enjoining and restraining violations
   failure to adduce such evidence in the pro-
   ceedings before the Commission, the court may                   Whenever it shall appear to the Commission
   order such additional evidence to be taken be-                that any person is engaged or about to engage in
   fore the Commission and to be adduced upon the                any acts or practices which constitute or will
   hearing in such manner and upon such terms                    constitute a violation of the provisions of this
   and conditions as to the court may seem proper.               chapter, or of any rule, regulation, or order
   The Commission may modify its findings as to                  thereunder, it may in its discretion bring an ac-
   the facts by reason of the additional evidence so             tion in the proper District Court of the United
   taken, and it shall file with the court such                  States or the United States courts of any Terri-
   modified or new findings which, if supported by               tory or other place subject to the jurisdiction of
   substantial evidence, shall be conclusive, and its            the United States, to enjoin such acts or prac-
   recommendation, if any, for the modification or               tices and to enforce compliance with this chap-
   setting aside of the original order. The judgment             ter or any rule, regulation, or order thereunder,
   and decree of the court, affirming, modifying, or             and upon a proper showing a permanent or tem-
   setting aside, in whole or in part, any such order            porary injunction or decree or restraining order
   of the Commission, shall be final, subject to re-             shall be granted without bond. The Commission
   view by the Supreme Court of the United States                may transmit such evidence as may be available
   upon certiorari or certification as provided in               concerning such acts or practices to the Attor-
   section 1254 of title 28.                                     ney General, who, in his discretion, may insti-
                                                                 tute the necessary criminal proceedings under
   (c) Stay of Commission's order                                this chapter.
     The filing of an application for rehearing                  (b) Writs of mandamus
   under subsection (a) shall not, unless specifi-
   cally ordered by the Commission, operate as a                   Upon application of the Commission the dis-
   stay of the Commission's order. The commence-                 trict courts of the United States and the United
   ment of proceedings under subsection (b) of this              States courts of any Territory or other place
   section shall not, unless specifically ordered by             subject to the jurisdiction of the United States
   the court, operate as a stay of the Commission's              shall have jurisdiction to issue writs of man-
   order.                                                        damus commanding any person to comply with
                                                                 the provisions of this chapter or any rule, regu-
   (June 10, 1920, ch. 285, pt. III, §313, as added Aug.         lation, or order of the Commission thereunder.
   26, 1935, ch. 687, title II, §213, 49 Stat. 860; amend-
   ed June 25, 1948, ch. 646, §32(a), 62 Stat. 991; May          (c) Employment of attorneys
   24, 1949, ch. 139, §127, 63 Stat. 107; Pub. L. 85---791,        The Commission may employ such attorneys
   §16, Aug. 28, 1958, 72 Stat. 947; Pub. L. 109--58,            as it finds necessary for proper legal aid and
   title XII, § 1284(c), Aug. 8, 2005, 119 Stat. 980.)           service of the Commission or its members in the
                                                                 conduct of their work, or for proper representa-
                        Editorial Notes                          tion of the public interests in investigations
                         CODIFICATION                            made by it or cases or proceedings pending be-
                                                                 fore it, whether at the Commission's own in-
     In subsec. (b), "section 1254 of title 28" substituted      stance or upon complaint, or to appear for or
   for "sections 239 and 240 of the Judicial Code, as amend-
   ed (U.S.C., title 28, secs. 346 and 347)" on authority of     represent the Commission in any case in court;
   act June 25, 1948, ch. 646, 62 Stat. 869, the first section   and the expenses of such employment shall be
   of which enacted Title 28, Judiciary and Judicial Proce-      paid out of the appropriation for the Commis-
   dure.                                                         sion.
                         AMENDMENTS                              (d) Prohibitions on violators
     2005---Subsec. (a). Pub. L. 109---58 inserted "electric       In any proceedings under subsection (a), the
   utility," after "Any person," and "to which such per-         court may prohibit, conditionally or uncondi-
   son," and substituted "brought by any entity unless           tionally, and permanently or for such period of




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                                                                        § 35.28                                                                  18 CFR Ch. I (4–1–23 Edition)

                                                                          (F) The Market Monitoring Unit and                       sion-approved independent system op-
                                                                        its employees may not accept anything                      erator or regional transmission organi-
                                                                        of value from a market participant in                      zation, or its representative, is per-
                                                                        excess of a de minimis amount.                             mitted to communicate the customer’s
                                                                          (G) The Market Monitoring Unit and                       or other stakeholder’s views to the
                                                                        its employees must advise a supervisor                     independent system operator’s or re-
                                                                        in the event they seek employment                          gional     transmission    organization’s
                                                                        with a market participant, and must                        board of directors;
                                                                        disqualify themselves from partici-                          (ii) Fairness in balancing diverse inter-
                                                                        pating in any matter that would have                       ests. The business practices and proce-
                                                                        an effect on the financial interest of
                                                                                                                                   dures must ensure that the interests of
                                                                        the market participant.
                                                                                                                                   customers or other stakeholders are
                                                                          (4) Electronic delivery of data. Each
                                                                        Commission-approved regional trans-                        equitably considered, and that delib-
                                                                        mission organization and independent                       eration and consideration of Commis-
                                                                        system operator must electronically                        sion-approved independent system op-
                                                                        deliver to the Commission, on an ongo-                     erator’s and regional transmission or-
                                                                        ing basis and in a form and manner                         ganization’s issues are not dominated
                                                                        consistent with its own collection of                      by any single stakeholder category;
                                                                        data and in a form and manner accept-                        (iii) Representation of minority posi-
                                                                        able to the Commission, data related to                    tions. The business practices and proce-
                                                                        the markets that the regional trans-                       dures must ensure that, in instances
                                                                        mission organization or independent                        where stakeholders are not in total
                                                                        system operator administers.                               agreement on a particular issue, mi-
                                                                          (5) Offer and bid data. (i) Unless a                     nority positions are communicated to
                                                                        Commission-approved independent sys-                       the Commission-approved independent
                                                                        tem operator or regional transmission                      system operator’s and regional trans-
                                                                        organization obtains Commission ap-                        mission organization’s board of direc-
                                                                        proval for a different period, each Com-                   tors at the same time as majority posi-
                                                                        mission-approved independent system                        tions; and
                                                                        operator and regional transmission or-                       (iv) Ongoing responsiveness. The busi-
                                                                        ganization must release its offer and
                                                                                                                                   ness practices and procedures must
                                                                        bid data within three months.
                                                                                                                                   provide for stakeholder input into the
                                                                          (ii) A Commission-approved inde-
                                                                        pendent system operator or regional                        Commission-approved independent sys-
                                                                        transmission organization must mask                        tem operator’s or regional trans-
                                                                        the identity of market participants                        mission organization’s decisions as
                                                                        when releasing offer and bid data. The                     well as mechanisms to provide feed-
                                                                        Commission-approved independent sys-                       back to stakeholders to ensure that in-
                                                                        tem operators and regional trans-                          formation exchange and communica-
                                                                        mission organization may propose a                         tion continue over time.
                                                                        time period for eventual unmasking.                          (7) Compliance filings. All Commis-
                                                                          (6) Responsiveness of Commission-ap-                     sion-approved independent system op-
                                                                        proved independent system operators and                    erators and regional transmission orga-
                                                                        regional transmission organizations. Each                  nizations must make a compliance fil-
                                                                        Commission-approved independent sys-                       ing with the Commission as described
                                                                        tem operator or regional transmission                      in Order No. 719 under the following
                                                                        organization must adopt business prac-                     schedule:
                                                                        tices and procedures that achieve Com-                       (i) The compliance filing addressing
                                                                        mission-approved independent system                        the accepting of bids from demand re-
                                                                        operator and regional transmission or-                     sponse resources in markets for ancil-
                                                                        ganization board of directors’ respon-                     lary services on a basis comparable to
                                                                        siveness to customers and other stake-                     other resources, removal of deviation
                                                                        holders and satisfy the following cri-
                                                                                                                                   charges, aggregation of retail cus-
                                                                        teria:
                                                                                                                                   tomers, shortage pricing during periods
                                                                          (i) Inclusiveness. The business prac-
                                                                                                                                   of operating reserve shortage, long-
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                                                                        tices and procedures must ensure that
                                                                        any customer or other stakeholder af-                      term power contracting in organized
                                                                        fected by the operation of the Commis-                     markets, Market Monitoring Units,

                                                                                                                             338
                                                                                                                           A - 12

                                         VerDate Sep<11>2014   17:13 May 03, 2023   Jkt 259062   PO 00000   Frm 00348   Fmt 8010   Sfmt 8010   Q:\18\18V1.TXT   PC31
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PJM Interconnection, L.L.C.,Intra-PJM Tariffs
Filing Category:            Normal                            Filing Date:               05/04/2018
FERC Docket:                ER18-01528-000                    FERC Action:               Accept
FERC Order:                 Delegated Letter Order                              Order Date:
          06/25/2018
Effective Date:             07/03/2018                                Status:                    Effective
ATTACHMENT M, OATT ATTACHMENT M (5.0.0)

                                        ATTACHMENT M
                                  PJM MARKET MONITORING PLAN

References to section numbers in this Attachment M refer to sections of this Attachment M, unless
otherwise specified.

...

III.     MARKET MONITORING UNIT

       A.     Establishment: PJM shall establish or retain a Market Monitoring Unit to
perform the functions set forth in this Plan.

       B.       Composition: The Market Monitoring Unit shall be comprised of personnel
having the experience and qualifications necessary to implement this Plan. In carrying out its
responsibilities, the Market Monitoring Unit may retain such consultants, attorneys and experts as
it deems necessary.

        C.       Independence: The Market Monitoring Unit shall be independent from, and not
subject to, the direction or supervision of any person or entity, with the exception of the PJM Board
as specified in section III.D above, and the Commission. No person or entity shall have the right
to preview, screen, alter, delete, or otherwise exercise editorial control over or delay Market
Monitoring Unit actions or investigations or the findings, conclusions, and recommendations
developed by the Market Monitoring Unit that fall within the scope of market monitoring
responsibilities contained in this Plan. Nothing in this section shall be interpreted to exempt the
Market Monitoring Unit from any applicable provision of state or federal law.

         D.       Role of PJM Board:

                  1.       The PJM Board shall have the authority and responsibility:

                           a.     To review the budget of the Market Monitoring Unit, consistent with
                           the budget processes and requirements set forth in section III.E below.

                           b.     To propose to terminate, retain by contract renewal or replace the
                           Market Monitoring Unit, consistent with the requirements of section III.F
                           below.




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               2.       The PJM Board and the Market Monitor shall meet and confer from time to
time on matters relevant to the discharge of the PJM Board’s and the Market Monitoring Unit’s
duties under this Plan.

              3.      Other than the matters set forth in sections III.D.1 and D.2 above, the PJM
Board shall have no responsibility for, or authority over, the Market Monitoring Unit.

...

      I.     PJM Liaison: PJM may appoint an employee to act as liaison with the Market
Monitoring Unit. The function of the liaison will be to facilitate communications between PJM
employees and the Market Monitoring Unit, as defined in section V.E below.

IV.    MARKET MONITORING UNIT FUNCTIONS AND RESPONSIBILITIES

      A.      General:     The Market Monitoring Unit shall objectively monitor the
competitiveness of PJM Markets, investigate violations of FERC or PJM Market Rules,
recommend changes to PJM Market Rules, prepare reports for the Authorized Government
Agencies and take such other actions as are specified in this Plan.

       B.     Monitored Activities:     The Market Monitoring Unit shall be responsible for
monitoring the following:

              1.      Compliance with the PJM Market Rules.

              2.      Actual or potential design flaws in the PJM Market Rules.

              3.      Structural problems in the PJM Markets that may inhibit a robust and
competitive market.

              4.    The potential for a Market Participant to exercise market power or violate
any of the PJM or FERC Market Rules or the actual exercise of market power or violation of the
PJM or FERC Market Rules.

               5.      PJM’s implementation of the PJM Market Rules or operation of the PJM
Markets, as further set forth in section IV.C below.

              6.      Such matters as are necessary to prepare the reports set forth in Section VI.

...

       G.      Participation in Stakeholder Processes: The Market Monitoring Unit may, as it
deems appropriate or necessary to perform its functions under this Plan, participate (consistent
with the rules applicable to all PJM stakeholders) in stakeholder working groups, committees or
other PJM stakeholder processes.



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        H.       Reports of Wrongdoing to State Commissions: If during the ordinary course of
its activities the Market Monitoring Unit discovers evidence of wrongdoing (other than minor
misconduct) that the Market Monitor reasonably believes to be within a State Commission's
jurisdiction, the Market Monitoring Unit shall report such information to the State Commission(s).

...

       J.      Additional Market Monitoring Unit Authority: In addition to notifications and
Referrals under sections IV.I.1 and IV.I.2 above, respectively, the Market Monitoring Unit shall
have the additional authority described in this section, as follows:

                1.      Engage in discussions regarding issues relating to the PJM Market Rules or
FERC Market Rules, in order to understand such issues and to attempt to resolve informally such
issues or other issues.

                2.     Excepting matters governed by section IV.I above, file reports and make
appropriate regulatory filings with Authorized Government Agencies to address design flaws,
structural problems, compliance, market power, or other issues, and seek such appropriate action
or make such recommendations as the Market Monitoring Unit shall deem appropriate. The Market
Monitoring Unit shall make such filings or reports publicly available and provide simultaneous
notice of the existence of reports to the PJM members and PJM, subject to protection of
confidential information.

                3.     Consult with Authorized Government Agencies concerning the need for
specific investigations or monitoring activities.

                4.      Consider and evaluate a broad range of additional enforcement mechanisms
that may be necessary to assure compliance with the PJM Market Rules. As part of this evaluation
process, the Market Monitoring Unit shall consult with Authorized Government Agencies and
other interested parties.

               5.      Report directly to the Commission staff on any matter.

...

V.     INFORMATION AND DATA

       A.      Primary Information Sources: The Market Monitoring Unit shall rely primarily
upon data and information that are customarily gathered in the normal course of business of PJM
and such publicly available data and information that may be helpful to accomplish the objectives
of the Plan, including, but not limited to, (1) information gathered or generated by PJM in
connection with its scheduling and dispatch functions, its operation of the transmission grid in the
PJM Region or its determination of Locational Marginal Prices, (2) information required to be
provided to PJM in accordance with the PJM Market Rules and (3) any other information that is
generated by, provided to, or in the possession of PJM. The foregoing information shall be



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provided to the Market Monitoring Unit as soon as practicable, including, but not limited to, real-
time access to scheduling, dispatch and other operational data.

        B.      Other Information Requests: If other information is required from a Market
Participant, the Market Monitoring Unit shall comply with the following procedures:

               1.     Request for Additional Data: If the Market Monitoring Unit determines
that additional information is required to accomplish the objectives of the Plan, the Market
Monitoring Unit may make reasonable requests of the entities possessing such information to
provide the information. Any such request for additional information will be accompanied by an
explanation of the need for the information and the Market Monitoring Unit’s inability to acquire
the information from alternate sources.

               2.     Failure to Comply with Request: The information request recipient shall
provide the Market Monitoring Unit with all information that is reasonably requested. If an
information request recipient does not provide requested information within a reasonable time, the
Market Monitoring Unit may initiate such regulatory or judicial proceedings to compel the
production of such information as may be available and deemed appropriate by the Market
Monitoring Unit, including petitioning the Commission for an order that the information is
necessary and directing its production. An information request recipient shall have the right to
respond to any such petitions and participate in the proceedings thereon.

                3.     Information Concerning Possible Undue Preference: Notwithstanding
subsection V.B.1 above, if the Market Monitoring Unit requests information relating to possible
undue preference between Transmission Owners and their affiliates, Transmission Owners and
their affiliates must provide requested information to the Market Monitoring Unit within a
reasonable time, as specified by the Market Monitoring Unit; provided, however, that an
information request recipient may petition the Commission for an order limiting all or part of the
information request, in which event the Commission’s order on the petition shall determine the
extent of the information request recipient’s obligation to comply with the disputed portion of the
information request.

                4.      Confidentiality: Except as provided in section IV.K.3, above, of this
Plan, the Market Monitoring Unit shall observe the confidentiality provisions of the PJM
Operating Agreement and Tariff, Attachment M - Appendix with respect to information provided
under this section if an entity providing the information designates it as confidential.

       C.      Complaints: Any Market Participant or other interested entity may at any time
submit information to the Market Monitoring Unit concerning any matter relevant to the Market
Monitoring Unit’s responsibilities under the Plan, or may request the Market Monitoring Unit to
make inquiry or take any action contemplated by the Plan. Such submissions or requests may be
made on a confidential basis. The Market Monitoring Unit may request further information from
such Market Participant or other entity and make such inquiry as the Market Monitoring Unit
considers appropriate. The Market Monitoring Unit shall not be required to act with respect to
any specific complaint unless the Market Monitoring Unit determines action to be warranted.



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        D.     Collection and Availability of Information: The Market Monitoring Unit shall
regularly collect and maintain under its sole control the information that it deems necessary for
implementing the Plan. A Market Participant shall have sole responsibility to make available to
the Market Monitoring Unit any information that the Market Monitoring Unit deems reasonably
necessary to document, verify or investigate a claim or request by such Market Participant. All
load reduction data are subject to audit by the Market Monitoring Unit. The Market Monitoring
Unit shall make publicly available a detailed description of the categories of data collected by the
Market Monitoring Unit. To the extent it deems appropriate and upon specific request, the Market
Monitoring Unit may release other data to the public, consistent with the obligations of the Market
Monitoring Unit and PJM to protect confidential, proprietary, or commercially sensitive
information as provided in Tariff, Attachment M - Appendix and the PJM Operating Agreement.

        E.     Access to Personnel and Facilities: The Market Monitoring Unit shall have
access to PJM personnel and facilities as necessary to perform the functions set forth in this Plan.
If the Market Monitoring Unit seeks data or other information from PJM personnel, it may contact
the appropriate personnel that may be in possession of such data or information. If the Market
Monitoring Unit seeks a formal opinion or position on a matter from PJM, it shall contact the PJM
Liaison or appropriate senior management official to provide such opinion or position.

         F.     Market Monitoring Indices: The Market Monitoring Unit shall develop, and
shall refine on the basis of experience, indices or other standards to evaluate the information that
it collects and maintains. Prior to using any such index or standard, the Market Monitoring Unit
shall provide PJM members, Authorized Government Agencies, and other interested parties an
opportunity to comment on the appropriateness of such index or standard. Following such
opportunity for comments, the decision to use any index or standard shall be solely that of the
Market Monitoring Unit.

        G.      Evaluation of Information: The Market Monitoring Unit shall evaluate, and
shall refine on the basis of experience, the information it collects and maintains, or that it receives
from other sources, regarding the operation of the PJM Markets or other matters relevant to the
Plan. As so evaluated, such information shall provide the basis for reports or other actions of the
Market Monitoring Unit under this Plan.

...




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PJM Interconnection, L.L.C.,Rate Schedules
Filing Category:            Normal                          Filing Date:                 09/07/2018
FERC Docket:                ER18-02402-000                  FERC Action:                 Accept
FERC Order:                 Delegated Letter Order                              Order Date:
          11/05/2018
Effective Date:             01/01/2020                                Status:                    Effective
MMSA-46 Sec 13, MMSA-46 Sec 13 - Independent Contractor (2.0.0)

13.     Independent Contractor.

        Nothing herein shall be construed to create an employer-employee relationship between
PJM and IMM or any of IMM’s employees. IMM is an independent contractor and not an
employee of PJM or any of its subsidiaries or affiliates. The consideration set forth in section 5
of this Agreement shall be the sole consideration due to IMM for the Services rendered
hereunder. IMM and IMM’s employees will not represent to be or hold themselves out as
employees of PJM. No workers’ compensation insurance shall be obtained by PJM covering
IMM or IMM’s employees.




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PJM Interconnection, L.L.C.,Rate Schedules
Filing Category:            Normal                       Filing Date:                  07/29/2013
FERC Docket:                ER13-02052-000               FERC Action:                  Accept
FERC Order:                 144 FERC ¶ 61,238 (2013)                          Order Date:
          09/27/2013
Effective Date:             09/27/2013                              Status:                    Effective
MMSA-46 Sec 28, MMSA-46 Sec 28 - Communication and Cooperation (0.0.0)

28.     Communication and Cooperation.

       In order to facilitate communication and to help ensure that the PJM Board is aware of
IMM concerns and that the IMM is aware of PJM Board concerns, the PJM Board, or a
subcommittee thereof, and the IMM will meet at each PJM Board meeting during the year and at
additional times if requested by the PJM Board. PJM Board members may call the Market
Monitor at any time with questions about the positions of the IMM or any other matter of
concern to the PJM Board.

       The PJM Board, or a subcommittee thereof, and IMM shall meet periodically, not less
than annually, to review whether any changes to the Agreement are necessary or desirable.

        In order to continue cooperative interaction between PJM and IMM, the Parties have
jointly drafted a document setting out the Parties’ intent, “Protocol for Improved Interaction,”
which has been posted on the PJM and IMM websites. The Parties are committed to continuing
to communicate effectively.




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                     CERTIFICATE OF SERVICE

      I hereby certify that, on February 28, 2025, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.

                                    /s/ Jason T. Perkins
                                    Jason T. Perkins
                                    Attorney
